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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)


In re:                                         (Chapter 11)

ESCO, LTD.,                                    Case No. 23-12237 (DER)

Debtor.


ESCO, LTD. LIQUIDATING TRUST,                  Adv. Pro. No. 24-00120 (DER)
Plaintiff,

v.

GREG GREENBERG, THEODORE
GREENBERG, BETH GREENBERG,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 1,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 2,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 3,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 4,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 5, AMANDA
GREENBERG, AND TIFFANY SHADE,

Defendants.


                         DEFENDANTS’ MOTION TO DISMISS

         Defendants Greg Greenberg, Theodore Greenberg, Beth Greenberg, Greenberg Family

2012 Irrevocable Trust No. 1, Greenberg Family 2012 Irrevocable Trust No. 2, Greenberg Family

2012 Irrevocable Trust No. 3, Greenberg Family 2017 Irrevocable Trust No. 4 (incorrectly named

in the Complaint as Greenberg Family 2012 Irrevocable Trust No. 4), Greenberg Family 2017

Irrevocable Trust No. 5 (incorrectly named in the Complaint as Greenberg Family 2012




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Irrevocable Trust No. 5), Amanda Greenberg, and Tiffany Shade (the “Defendants”), by and

through undersigned counsel, hereby move this Court for an Order dismissing the complaint (the

“Complaint”) filed by The ESCO, Ltd. Liquidating Trust (the “Plaintiff”) pursuant to Fed. R. Civ.

P. 12(b)(6), applicable in this proceeding pursuant to Fed. R. Bankr. P. 7012.

          The grounds and authorities for this motion are set forth in the accompanying memorandum

of law.

          WHEREFORE, the Defendants respectfully request that this Court dismiss the Complaint

with prejudice.

Dated: July 29, 2024                                  SAUL EWING LLP


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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
                               (Baltimore Division)


In re:                                      (Chapter 11)

ESCO, LTD.,                                 Case No. 23-12237 (DER)

Debtor.


ESCO, LTD. LIQUIDATING TRUST,               Adv. Pro. No. 24-120 (DER)
Plaintiff,

v.

GREG GREENBERG, THEODORE
GREENBERG, BETH GREENBERG,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 1,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 2,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 3,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 4,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 5, AMANDA
GREENBERG, AND TIFFANY SHADE,

Defendants.


         MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

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Dated: July 29, 2024




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                                    PRELIMINARY STATEMENT1

         The Complaint is full of legal conclusions and colorful adjectives and adverbs, but

woefully short of facts that would plausibly suggest liability against the Defendants. It seeks to

claw back prepetition payments, but does not specify the amount and date of the payments. It

ignores the Plaintiff’s obligation to allege facts relating to insolvency, blithely and conveniently

concluding—with no discussion of real financial facts—that the Debtor was insolvent for the entire

three-year period prepetition. It questions the use of the company’s credit card, but makes no

specific allegations of improper use.

         Plaintiff must do more in order to sufficiently state a claim against the Defendants. The

Federal Rules and case law under Iqbal and its progeny demand it. What is more, Plaintiff cannot

claim—as many other trustees credibly can—that it is unable to allege specific facts because of

lack of knowledge, and therefore the pleading standards should be softened. The Committee

(represented by the same counsel as Plaintiff) conducted an extensive review of the relevant

documents, with the Defendants consenting to the Committee’s Rule 2004 examination and

voluntarily producing over 2,500 documents. The Court should certainly take this into account in

determining whether the Complaint plausibly states a claim against Defendants: the Plaintiff had

plenty of documents and other materials to develop the facts regarding the potential claims against

the Defendants, and the best that Plaintiff can come up with is a flimsy collection of legal

conclusions and unsupported aspersions against the management and owners of the Debtor.

         The Complaint should be denied with prejudice.




1
  Any capitalized term not otherwise defined herein shall have the same meaning as that ascribed to it elsewhere in
this Brief.

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                    INTRODUCTION AND SUMMARY OF ARGUMENT

         The ESCO, Ltd. Liquidating Trust (“Plaintiff”), the liquidating trust established in the

bankruptcy of debtor ESCO Ltd. (the “Debtor”), filed the complaint in the instant case (the

“Complaint”) against Defendants Greg Greenberg, Theodore Greenberg, Beth Greenberg,

Greenberg Family 2012 Irrevocable Trust No. 1, Greenberg Family 2012 Irrevocable Trust No. 2,

Greenberg Family 2012 Irrevocable Trust No. 3, Greenberg Family 2017 Irrevocable Trust No. 4

(incorrectly named in the Complaint as Greenberg Family 2012 Irrevocable Trust No. 4),

Greenberg Family 2017 Irrevocable Trust No. 5 (incorrectly named in the Complaint as Greenberg

Family 2012 Irrevocable Trust No. 5), Amanda Greenberg, and Tiffany Shade (the “Defendants”)

seeking to avoid alleged preferential or constructively fraudulent transfers, and bringing additional

claims for breach of fiduciary duty and intentional fraud against the Debtor’s former top officers.

         The Complaint does not identify the date or amount of most challenged transfers, and

therefore does not sufficiently allege a claim to avoid such transfers. It includes no exhibits, such

as those that normally accompany an avoidance action complaint, providing facts relating to the

nature of the debt paid, the date of payment, and the amount of payment. It generally repeats the

statutory elements (e.g., simply repeating the elements of section 547 of the Bankruptcy Code, but

framing them as conclusions) without supporting facts, and alleges that some of the challenged

transfers might (or might not) be made without reasonably equivalent value, or on account of an

antecedent debt. The Complaint should be dismissed on this basis alone, since it does not fairly

apprise the Defendants of what is actually being challenged.

         Plaintiff’s avoidance action claims fail on multiple, independent levels. For most of the

avoidance action claims, it is Plaintiff’s burden to allege facts plausibly suggesting insolvency at

the time of the transfer. However, the Complaint neglects to plead the Debtor’s insolvency or

other financial distress, so all avoidance claims are ill-pled. It seeks to avoid and recover tax

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withholdings that—as a matter of law—were not estate property, or payments made directly to

taxing authorities where the Defendants were not transferees; these portions of the Complaint must

be dismissed with prejudice. The Complaint seeks to avoid as a preference an equity distribution

payment not made on account of an antecedent debt. This claim must also be dismissed with

prejudice. The Complaint does not plausibly plead the insider status of certain Defendants, so—

as a matter of law—the applicable preference period must be limited to ninety days prepetition

(rather than one year).

         The Complaint seeks to avoid salary payments to Greg Greenberg, Amanda Greenberg,

and Tiffany Shade as preferences or constructively fraudulent transfers, but does not attempt to

rebut the presumption that the value of an employee’s compensation is equal to the value of the

services provided. In addition to failing on that prima facie issue, the Complaint ignores the

defenses that are clear from the face of the Complaint: the subsequent new value and reasonably

equivalent value provided by these Defendants’ services. Accordingly, the avoidance claims

against Greg Greenberg, Amanda Greenberg, and Tiffany Shade must be dismissed.

         The Complaint does not identify how Greg Greenberg or Theodore Greenberg allegedly

breached their fiduciary duties in approving compensation, and cannot overcome the business

judgment rule. The Plaintiff cannot plausibly state a claim for breach of fiduciary without

specifying the facts underlying this legal conclusion. In other words, Plaintiff cannot merely

conclude “breach of fiduciary duty” and have it stick. This claim is ill-pled and must be dismissed.

         The Complaint alleges intentional fraud against the Debtor’s former president, but does not

plead the time, contents, or recipient of his allegedly fraudulent statements. This does not meet

the heightened pleading standard for intentional fraud.




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         In sum, the Complaint is a nonspecific set of legal conclusions that does not state a claim

or put the Defendants on notice of the facts supporting claims against them. It must be dismissed

entirely with prejudice.

                                  JURISDICTION AND VENUE

         The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b)

and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b).

         Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         The statutory predicates for the relief requested herein are 11 U.S.C. §§ 544, 547, 548, 550,

Fed. R. Bankr. P. 7008, 7009, 7012 and Fed. R. Civ. P. 8, 9, 12.

         Pursuant to Rule 7012-1 of the Local Bankruptcy Rules of the United States Bankruptcy

Court for the District of Maryland, Defendants do not consent to the entry of a final order by the

Court in connection with this Motion, if it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                          BACKGROUND

         On March 31, 2023 (the “Petition Date”), ESCO filed a voluntary petition for relief under

Chapter 11 of the Bankruptcy Code.

         During the pendency of this case, the Official Committee of Unsecured Creditors moved

pursuant to Fed. R. Bankr. P. 2004 to obtain documents from certain Defendants, primarily Greg

Greenberg. (Bkr. D.I. 307). The Defendants did not oppose the motion and consented to the

requested relief. (Bkr. D.I. 314). Greg Greenberg produced thousands of documents to the Official

Committee of Unsecured Creditors – which was represented by the same counsel as the Plaintiff.

Counsel for the Official Committee of Unsecured Creditors never raised any issues or suggested



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Greg Greenberg did not comply with his production responsibilities. None of those documents

are included as exhibits to the Complaint.

         On November 16, 2023, the Court confirmed the Debtor’s plan of liquidation, which

established the Plaintiff and vested the Plaintiff with the right to pursue the Debtor’s and the

estate’s causes of action. (Bkr. D.I. 389).

         The Plaintiff filed the Complaint on May 20, 2024, commencing the instant adversary

proceeding. By agreement between the Defendants and the Plaintiff, the Defendants’ time to

respond to the Complaint was set for July 22, 2024, and later extended to July 29, 2024.

                                 SUMMARY OF COMPLAINT

         The Complaint primarily seeks to avoid and recover transfers made to the Defendants. The

Complaint does not include a list of most of the transfers it seeks to avoid, or when those transfers

were made. It merely alleges that,

               during the three years before the Petition Date (the “Transfer Period”) and
               one year before the Petition Date (the “Preference Period”), the Debtor was
               insolvent yet made avoidable transfers to the insider Defendants in the form
               of equity distributions, compensation, and reimbursements for credit card
               expenses (each a “Transfer,” and together the “Transfers”). These Transfers
               to the insider Defendants total nearly $9 million.

Compl. ¶ 35.

         The Complaint brings six counts against the Defendants:

         Count I seeks to avoid as preferences under Bankruptcy Code Section 547 any of these

Transfers that occurred between March 31, 2022 and the bankruptcy filing date of March 31, 2023.

This claim is apparently brought against all Defendants.

         Count II seeks to avoid Transfers as constructively fraudulent under Bankruptcy Code

Section 548(a)(1)(B). This claim is apparently brought against all Defendants and seeks recovery

of all Transfers made since March 31, 2021.


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         Count III seeks to avoid these transfers under the Maryland Uniform Fraudulent Transfer

Act (“MUFCA”), Md. Code §§ 15-204 et. seq., made applicable by Bankruptcy Code Section

544(b)(2). This claim is apparently brought against all Defendants and seeks recovery of all

Transfers made since March 31, 2020.

         Count IV seeks recovery of the amounts of the Transfers avoided by Counts I-III pursuant

to Bankruptcy Code Section 550, and is brought against all Defendants.

         Count V is brought against Greg and Theodore Greenberg. It seeks an unliquidated

recovery on account of alleged fiduciary breaches by Greg and Theodore Greenberg.

         Count VI is brought only against Greg Greenberg. It seeks an unliquidated amount on

account of alleged intentional fraud for Greg Greenberg’s use of the company credit card for

personal expenses.

                                            ARGUMENT

         A.     Motion to Dismiss Standard

         Under Federal Rule 12(b)(6), a party may move to dismiss for failure to state a claim upon

which relief may be granted. “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (cleaned up). Dismissal is appropriate where “the complaint lacks

a cognizable legal theory or sufficient facts to support a cognizable legal theory.” Mendiono v.

Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

         “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”

Iqbal, 556 U.S. at 679. “[W]here the well-pleaded facts do not permit the court to infer more than

the mere possibility of misconduct, the complaint has alleged — but it has not ‘show[n]’—‘that

the pleader is entitled to relief.’” Id. (quoting Fed. R. Civ. Proc. 8(a)(2)).



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         In evaluating this Motion, the Court may look not only to the Complaint, but also to matters

of public record, such as documents filed in the Debtor’s chapter 11 proceeding. See United States

v. Sierra Pac. Indus., Inc., 862 F.3d 1157, 1171 (9th Cir. 2017) (holding that trial court may

properly consider prior court proceedings before that trial court in a motion to dismiss).

         B.     The Complaint is Inadequately Pled Pursuant to Rule 8

         Pursuant to Fed. R. Civ. P. 8(a)(2), applicable pursuant to Fed. R. Bankr. P. 7008, a

complaint must contain “a short and plain statement of the claim showing that the pleader is

entitled to relief.”

         The Complaint is largely one for avoidance of the Transfers. A complaint merely alleging

that a debtor made transfers is insufficient to plead an avoidance claim. In re Caremerica, Inc.,

409 B.R. 737, 750 (Bankr. E.D.N.C. 2009) (preference claim dismissed because complaint’s

unsupported “assertion that “the debtors transferred its (sic) funds into bank accounts operated by

the debtors’ principals” is merely a conclusory statement that lacks factual support.”). Other courts

have given guidance on when a complaint sufficiently pleads facts supporting a preference claim.

Beaman v. Barth (In re AmeriLink, Ltd.), No. 09-01055-8-JRL, 2011 WL 864953, at *2 (Bankr.

E.D.N.C. Mar. 11, 2011) (“To comply with the heightened pleading standards for § 547 claims,

the complaint must include (a) an identification of the nature and amount of each antecedent debt

and (b) an identification of each alleged preferential transfer by (i) date, (ii) name of

debtor/transferor, (iii) name of transferee and (iv) amount of the transfer.”).

         The purpose of the Fed. R. Civ. P. 8(a)(2) pleading standard is “to apprise the defendant

fairly of the charges made against him.” In re AstroPower Liquidating Trust, 335 B.R. 309, 333

(Bankr. D. Del. 2005).

         At the very least, an avoidance complaint must identify “who transferred what to whom

and when,” because only that level of specificity will permit a defendant “to mount whatever

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defenses may be available.” Tousa Homes, Inc. v. Palm Beach Newspapers, Inc. (In re TOUSA,

Inc.), 442 B.R. 852, 855–56 (Bankr. S.D. Fla. 2010). “[C]omplaints that identify the dates,

amounts, source, and transferee of each of the alleged transfers successfully support claims of

constructive fraudulent transfer under Fed. R. Civ. Pro. 8(a)(2)’s pleading standard.” In re

PennySaver USA Publ'g, LLC, 602 B.R. 256, 266 (Bankr. D. Del. 2019).

         The Complaint attempts to challenge Transfers made at unspecified times in unspecified

amounts. In the “Claims for Relief” section laying out the counts in the Complaint, the Plaintiff

seeks to avoid alleged constructively fraudulent transfers if they were made during the relevant

lookback period and “were not made on account of an antecedent debt, or was a prepayment for

goods and/or services subsequently received.” Compl. ¶¶ 56, 60. This is not an allegation of facts

that must be taken a true, it is an allegation that if certain facts are true the Plaintiff might state a

claim. This kind of hedging, conditional statement cannot adequately allege facts supporting a

claim.

         The Complaint refers to the Debtor’s records but attaches none of them. The Debtor’s

Statement of Financial Affairs (the “SOFA”) discloses transactions to certain Defendants during

the year prepetition. (Bkr. D.I. 149). A true and correct copy of the SOFA is attached hereto as

Exhibit A, and may be judicially noticed by the Court in consideration of this Motion. The SOFA

demonstrates the inadequacy of the Complaint: the salary history shows dozens of transfers to

various Defendants over a one-year period that are described as “Gross Salary,” including amounts

withheld for taxes and not received by any Defendant. See Ex. A at 32-35. From the allegations

in the Complaint, the Defendants cannot determine with certainty which transactions are being

challenged, and whether the Plaintiff seeks to recover the gross amount (including amounts

withheld for taxes), or only the net amount.



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         The Complaint essentially amounts to a statement that, if certain unpled facts are true,

Plaintiff can recover some amount transferred during some time period. This indistinct pleading

is insufficient under Fed. R. Civ. P. 8, and must be dismissed entirely.

         C.     The Plaintiff Did Not Plead the Debtor’s Insolvency

         The avoidance causes of action in Counts I, II and III all require the Plaintiff to plead at

least one of three financial distress criteria:

               Book-value insolvency, meaning debts exceeding assets (11 U.S.C. § 547(b)(3); 11
                U.S.C. § 548(a)(1)(B)(ii)(I); Md. Code § 15-204);
               Inadequate capitalization (11 U.S.C. § 548(a)(1)(B)(ii)(II); Md. Code § 15-205); or
               Intent to incur debts beyond the debtor’s ability to repay (11 U.S.C. §
                548(a)(1)(B)(ii)(III); Md. Code § 15-206).

         Insolvency is presumed under Section 547 for the 90 days prepetition. 11 U.S.C. § 547(f).

The Plaintiff seeks to avoid alleged preference to insiders up to a year prepetition. The Plaintiff

does not have a presumption of insolvency for the period from 365 to 91 days prepetition (the

“Insider Lookback Period”).

         To assess insolvency, courts compare a debtor’s assets and liabilities in a straightforward

book-value calculation. Molovinsky v. Fair Emp. Council of Greater Washington, Inc., 839 A.2d

755, 766 (Md. Ct. Spec. App. 2003) citing F.S. Bowen Elec. Co. v. United States Fid. & Guar.

Co., 256 F.2d 46, 49 (4th Cir. 1958) (stating that the “[d]etermination of the issue of solvency ...

requires an appraisal of probable liabilities as well as the salable value of assets”). “[W]here a

business is a ‘going concern,’ considering goodwill in a solvency analysis seems highly

appropriate.” BAA, PLC v. Acacia Mut. Life Ins. Co., 929 A.2d 1, 19 (Md. 2007) citing Md. Code

§ 15-202(a).

         “To determine whether a debtor is undercapitalized (or retains unreasonably small assets),

courts look to whether the debtor has an ‘inability to generate sufficient profits to sustain



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operations ....’” Smith v. Litchford & Christopher, P.A. (In re Bay Vista of VA., Inc.), 428 B.R.

197, 225 (Bankr. E.D. Va. 2010). “Among the relevant data are cash flow, net sales, gross profit

margins, and net profits and losses.” Moody v. Security Pac, Business Credit, 971 F.2d 1056, 1073

(3d Cir. 1992).

         Intent to incur debts beyond the ability to repay is shown by an analysis of the subjective

intent of the debtor when making the transfer. Leibersohn v. Campus Crusade for Christ, Inc. (In

re C.F. Foods, L.P.), 280 B.R. 103, 116–17 (Bankr. E.D. Pa. 2002); see also In re Operations NY

LLC, 490 B.R. 84, 98 (Bankr. S.D.N.Y. 2013) (under the Bankruptcy Code); Fick v. Perpetual

Title Co., 694 A.2d 138, 149 (Md. Ct. Spec. App. 1997) (affirming denial of plaintiff’s summary

judgment motion under MUFCA “because we do not know the extent of [debtor’s] assets or

liabilities at any relevant point in time, we cannot infer what [debtor] intended or believed prior to

making any transfer.”). This element is established if “the debtor could not have reasonably

believed that it would be able to pay its debts as they matured.” In re Doctors Hosp. of Hyde Park,

Inc., 507 B.R. 558, 635–36 (Bankr. N.D. Ill. 2013) citing Barrett v. Continental Ill. Nat'l Bank &

Trust Co., 882 F.2d 1 (1st Cir. 1989), cert. denied, 494 U.S. 1028 (1990); see also In re EBC I,

Inc., 380 B.R. 348, 359 (Bankr. D. Del. 2008).

         These financial distress criteria cannot be assumed just because a debtor in is bankruptcy;

each requires at least some level of factual support. The Complaint does not adequately plead any

of these financial distress criteria.    It formulaically recites the statutory elements without

elaboration. Compl. ¶¶ 4, 52, 55, 60. This is insufficient to plead these essential elements of the

avoidance claims.

         The Complaint contains only one other relevant allegation, a footnote that alleges that the

“Debtor incurred operating losses of approximately $280,000 and $1.76 million in fiscal years



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2020 and 2021, respectively, which had a significant negative impact on the Debtor’s financial

position and liquidity.” Compl. at ¶ 35 & n.11. This allegation does not provide any factual

support for alleged financial distress in 2022 or 2023, and cannot support a finding of insolvency

during those fiscal years.

         The existence of net operating losses is irrelevant to the calculation of book-value

insolvency; it says nothing about the Debtor’s assets or liabilities except to show a potentially-

valuable tax attribute: deductible net operating losses. In fact, the Debtor’s schedules show that

on the Petition Date its assets were $15,878,355.41 and its liabilities were $16,055,635.73. (Bkr.

D.I. 148 at 10). At the most acute moment of the Debtor’s financial struggles, and after paying a

number of professionals in preparation for the bankruptcy, the Debtor was only book value

insolvent by approximately $177,000.00. For comparison, the Debtor’s gross revenue for the year

prepetition exceeded $35 million. Ex. A at 10. It is implausible to suggest the Debtor was

insolvent for a substantial period of time before the Petition Date; the judicially noticeable facts

suggest that the Debtor only tipped into book value insolvency mere weeks before the Petition

Date.

         The existence of net operating losses is merely one fact that could potentially support a

finding of insufficient capitalization, but is insufficient on its own. The Complaint pleads no other

facts regarding inadequate capitalization.

         The existence of net operating losses in 2020 and 2021 does not demonstrate the amount

of the Debtor’s debts at those times, or the Debtor’s intent in incurring debts at those times. Many

companies generate net operating losses and are subsequently able to repay their debts; the

Complaint does not even attempt to address the other facts necessary to establish that the Debtor

intentionally incurred debts beyond its ability to repay. The SOFA indicates that in the 2020 and



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2021 fiscal years, the Debtor had gross revenue exceeding $63 million and $55 million,

respectively. Ex. A at 10. Compared to the overall size of the business, the reported net operating

losses are comparatively small and do not plausibly indicate an unbearable debt load.

         The Complaint does not even bother to address alleged inadequate capitalization. The

Complaint contains no facts regarding the Debtor’s intent in incurring debts, the amount of those

debts, the amount of the Debtor’s assets, the Debtor’s cash flows, net sales, or profit margins for

any period.

         The Complaint does not plead the Debtor’s insolvency, inadequate capitalization or intent

to incur debts beyond its ability to repay. Count I must be dismissed as to all Transfers during the

Insider Lookback Period. Counts II and III must be dismissed entirely.

         D.       The Plaintiff Cannot Avoid the Tax Withholdings Because They Were Not
                  Property of the Estate

         The avoidance causes of action in Counts I, II and III all require the Plaintiff to plead a

transfer of some property of the debtor.

         “The Internal Revenue Code requires employers to withhold federal social security,

hospital insurance, and income taxes from the wages of their employees and to turn over the

withheld amounts to the United States. See I.R.C. §§ 3102(a), 3402(a). The withheld taxes

constitute a special fund held in trust for the benefit of the United States.” Lyon v. United States,

68 F. App’x 461, 466 (4th Cir. 2003). A debtor’s “payments of trust-fund taxes to the IRS from

its general accounts were not transfers of ‘property of the debtor,’ but were instead transfers of

property held in trust for the Government pursuant to [Internal Revenue Code] § 7501. Such

payments therefore cannot be avoided as preferences.” Begier v. IRS, 496 U.S. 53, 67 (1990).

This principle applies to Section 544 and 548 as well – both require a transfer of an “interest of




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the debtor in property,” and amounts in trust are not debtor property. French v. Liebmann (In re

French), 440 F.3d 145, 151 (4th Cir. 2006) (Begier’s principles apply to Section 548 actions).

         The Complaint identifies “approximately $6 million” in compensation paid to Greg

Greenberg, Amanda Greenberg and Tiffany Shade that the Plaintiff seeks to avoid.                  This

approximate number is the gross compensation, not reduced by trust fund tax withholdings. As

such, the Complaint seeks to avoid amounts that were withheld for taxes that were not property of

the Debtor. The Complaint must be dismissed with prejudice as to any amounts withheld for taxes.

         E.     The Plaintiff Cannot Recover the Direct Tax Payments Because The
                Defendants Were Not Transferees

         Pursuant to Section 550 of the Bankruptcy Code, “the trustee may recover, for the benefit

of the estate, the property transferred … from (1) the initial transferee of such transfer…”

11 USC § 550(a)(1) (emphasis added). The Defendants are not transferees of the alleged

“distributions” to equity holders that were actually direct payments to taxing authorities.

         “When a debtor pays a creditor to satisfy a debt guaranteed by a third party, the creditor is

the initial transferee and the guarantor, who is no longer liable for the debt, is the entity for whose

benefit the transfer is made.” Englander v. Blunt (In re Essex Constr., LLC), 624 B.R. 103, 130

(Bankr. D. Md. 2020) citing Lowry v. Security Pacific Business Credit, Inc. (In re Columbia Data

Products, Inc.), 892 F.2d 26, 29 (4th Cir. 1989). Where a debtor directs that money be withheld

from a distribution and paid to a taxing authority, the taxing authority, not the distributee, is the

initial transferee of the funds. Iannacone v. IRS (In re Bauer), 318 B.R. 697, 702 (Bankr. D. Minn.

2005).

         The Debtor was a pass-through entity for tax purposes; its tax liability was passed to the

equity owner Defendants. The Debtor then paid the passed-through tax liability directly to the

applicable taxing authority.


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         The Complaint alleges that the Plaintiff has “identified $1,859,860 in distributions to the

equity holder insider Defendants.” Compl. at ¶ 39. The Complaint then includes a chart clearly

describing most of these payments as tax payments, not equity distributions. Id. The following

distributions (the “Direct Tax Payments”) totaling $1,717,824.00 were tax payments paid directly

to the applicable taxing authorities:

      Month Paid             Description                                          Amount

      July 2020              VA Tax Payment - 2019 Form VA8879 - Greg             $187.00

      July 2020              MD Tax Payment - 2019 Form MD502 – Greg              $68,677.00

      July 2020              IRS 2019 Extension – Ted                             $450,000.00

      July 2020              IRS 2019 Extension – Greg                            $383,276.00

      July 2020              IRS 2019 Trust #4                                    $48,848.00

      August 2020            IRS Trust #4 Estimated 2020 payment #1 & #2          $17,500.00

      September 2020         IRS Trust #4 Estimated 2020 payment #3               $8,750.00

      December 2020          2020 Form 1040-ES – Ted                              $175,000.00

      December 2020          2020 Form 1040-ES – Greg                             $170,000.00

      May 2021               IRS 2020 Form 4868 – Ted                             $10,000.00

      May 2021               IRS 2020 Form 4868 – Greg                            $52,000.00

      June 2021              2021 Form 1040 ES - Ted Q2                           $107,500.00

      June 2021              2021 Form 1040 ES - Greg Q2                          $55,000.00

      September 2021         1040 ES Q3 2021 – Greg                               $27,500.00

      September 2021         1040 ES Q3 2021 - Trust #4                           $4,186.00

      September 2021         1040 ES Q3 2021 – Ted                                $53,750.00




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      Month Paid              Description                                            Amount

      January 2022            1040 ES Q3 2021 – Greg                                 $27,500.00

      January 2022            1040 ES Q3 2021 - Trust #4                             $4,400.00

      January 2022            1040 ES Q3 2021 – Ted                                  $53,750.00

         The Defendants were not the transferees of the Direct Tax Payments, the applicable taxing

authorities were. The Plaintiff cannot recover the Direct Tax Payments from the Defendants, and

Count IV seeking recovery of the Direct Tax Payments pursuant to 11 U.S.C. § 550 must be

dismissed with prejudice.

         F.     The Plaintiff Cannot Avoid the Preference Period Transfers

                1.      The Complaint Does Not Plead that Tiffany Shade or the Trusts Were
                        Insiders

         The Complaint seeks to avoid Transfers made up to one year prepetition as preferences.

The Plaintiff may not avoid Transfers made during the 90 days prepetition unless the Complaint

adequately pleads that each Defendant is an insider. 11 U.S.C. § 547(b)(4)(B) (one-year lookback

period for transfers to insiders).

         An insider of a corporation includes the directors and officers of a debtor, persons in control

of a debtor or relatives thereof. 11 U.S.C. § 101(31)(B). “A former spouse, however, is not related

by affinity, and therefore ‘a former spouse will not be considered a relative.’” Dobin v. Hill (In re

Hill), 342 B.R. 183, 199 (Bankr. D.N.J. 2006) quoting 2 Collier on Bankruptcy ¶ 101.45 (15th ed.

Rev. 2006).

         Insiders also include affiliates of the debtor. 11 U.S.C. § 101(31)(E). An affiliate is, in

relevant part, an “entity that directly or indirectly owns, controls, or holds with power to vote, 20

percent or more of the outstanding voting securities of the debtor.” 11 U.S.C. § 101(2)(A).




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         Outside these statutory categories, a non-statutory insider “must exercise sufficient

authority over the debtor so as to unqualifiably dictate corporate policy and the disposition of

corporate assets.” Butler v. David Shaw, Inc., 72 F.3d 437, 443 (4th Cir. 1996) quoting Hunter v.

Babcock (In re Babcock Dairy Co.), 70 B.R. 662, 666 (Bankr. N.D. Ohio 1986).

         The Complaint alleges that Tiffany Shade “is the ex-wife of Brad Greenberg (the deceased

son of Theodore and deceased brother of Greg and Amanda).” Compl. ¶ 29. As a former spouse

of a family member of a director or officer she is not a relative of any of the Debtor’s officers or

controllers, and is not an insider.

         The Complaint alleges that Greenberg Family 2012 Irrevocable Trust No. 1, Greenberg

Family 2012 Irrevocable Trust No. 2, Greenberg Family 2012 Irrevocable Trust No. 3, Greenberg

Family 2012 Irrevocable Trust No. 4, and Greenberg Family 2012 Irrevocable Trust No. 5

(collectively, the “Trusts”) were equity holders of the Debtor. Compl. ¶¶ 23-27. Mere equity

ownership does not make the Trusts statutory insiders, and the Complaint does not plead any facts

regarding the Trusts’ voting rights or ownership percentages.

         The Complaint includes no allegations that Tiffany Shade or the Trusts had any authority

to dictate corporate decision-making or asset disposition. It includes no allegations that Tiffany

Shade or the Trusts ever attempted to assert or exercise such authority. The Complaint does not

plead any facts that would establish non-statutory insider status.

         Because the Complaint does not plead that Tiffany Shade and the Trusts are insiders of the

Debtor, all claims against them for Transfers during the Insider Lookback Period must be

dismissed.




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                2.     The Transfer to Greenberg Family 2017 Irrevocable Trust No. 4 Was
                       Not on Account of An Antecedent Debt

         A transfer may only be avoided as a preference if it is made “for or on account of an

antecedent debt owed by the debtor before such transfer was made.” 11 U.S.C. § 547(b)(2).

         The Bankruptcy Code recognizes the distinction between debts – amounts owed by the

debtor – and interests – which give the holder some form of ownership in the debtor.

         Distributions to equity are generally made on account of the interest holder’s ownership

rights, not on account of pre-existing obligations. As a result, “[e]quity distributions are not

ordinarily considered transfers made on account of an antecedent debt.” In re Dewey & LeBoeuf

LLP, 518 B.R. 766, 789 (Bankr. S.D.N.Y. 2014).

         The April 2022 Transfer of $90,523.00 to Greenberg Family 2017 Irrevocable Trust No. 4

is identified in the Complaint as a “distribution to the equity holder.” Compl. ¶ 39. The Complaint

identifies no pre-existing obligation of the Debtor to make that distribution. Taking the Complaint

on its face, this Transfer was made on account of Greenberg Family 2017 Irrevocable Trust No.

4’s ownership interest in the Debtor and cannot be avoided as a preference. This claim must be

dismissed as to Greenberg Family 2017 Irrevocable Trust No. 4 with prejudice.

                3.     Greg Greenberg, Amanda Greenberg, and Tiffany Shade Provided
                       Subsequent New Value to the Debtor

         A transfer cannot be avoided as a preference to the extent that the transferee provided

“subsequent new value,” defined as “money or money’s worth in goods, services, or new credit,

or release by a transferee of property previously transferred to such transferee in a transaction that

is neither void nor voidable by the debtor or the trustee under any applicable law, including

proceeds of such property, but does not include an obligation substituted for an existing

obligation.” 11 U.S.C. § 547(a)(2). Because Greg Greenberg, Amanda Greenberg, and Tiffany



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Shade (the “Employee Defendants”) provided subsequent new value, their compensation cannot

be avoided.

         The value of services provided by an employee is rebuttably presumed to be equal to their

compensation. In Re: Jones Truck Line, Inc., 130 F.3d 323, 328 (8th Cir. 1997) (“Absent contrary

evidence, the value of employee services is presumed to equal the wages and benefits the employer

contracted to pay”); In re Nomus–North Carolina, Inc., No. 01-50373, 2004 WL 574510 (Bankr.

M.D. N.C. 2004) (“Value of an employee[’s] services is presumed to equal wages and benefits

that an employer contracted to pay.”)

         In the Fourth Circuit, any new value provided after an alleged preferential transfer reduces

the transferee’s preference liability if that new value is paid for via an avoidable transfer. In re

JKJ Chevrolet, Inc., 412 F.3d 545, 552 (4th Cir. 2005) (adopting the “subsequent advance” theory

and rejecting the idea that Section 547(c)(4) requires new value to remain unpaid because “the

proper inquiry is whether the new value has been paid for by an ‘otherwise unavoidable transfer’”).

         After the first allegedly-avoidable transfer was made to Greg Greenberg, he continued to

provide the management and day-to-day operations services though the petition date. Compl. ¶

20. He is entitled to a presumption that his services were equal to the wages and benefits he was

paid by the Debtor. The Complaint does not include specific facts to rebut this presumption; it

baldly states his salary “exceeded the market rate” but does not even describe the responsibilities

of Greg Greenberg’s role. Compl. ¶ 42.

         The Complaint does not rebut the presumption of value for services as to Amanda

Greenberg either. The Complaint does not plead her job title or the services she was supposed to

perform. Instead it merely alleges that “she appeared to do no work.” Compl. ¶ 43. This is another

conditional statement – it does not actually plead that Amanda did no work. The Complaint’s



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other allegations are similarly irrelevant: she allegedly did not send any emails after 2011, but the

Complaint does not indicate whether she had a company email, used her personal email for

responses or even received company-related emails since 2011. Compl. ¶ 43. Lastly, the

Complaint alleges that Amanda lives in Florida where the Debtor has no offices. Compl. ¶ 43.

The recent prevalence of remote work demonstrates how this allegation is irrelevant to whether

Amanda Greenberg performed services, and remote work has been available for many business

jobs for decades.

         The Complaint does not rebut the presumption of value for services as to Tiffany Shade

either. Instead, it pleads the only allegations regarding Tiffany Shade’s services “upon information

and belief.” Compl. ¶ 44. “[B]ecause a complaint must plausibly state a claim, using ‘upon

information and belief’ as a pleading device survives a motion to dismiss only where ‘the facts are

peculiarly within the possession of the defendant, or where the belief is based on factual

information that makes the inference of culpability plausible.’” Stone v. Trump, 400 F. Supp. 3d

317, 341 (D. Md. 2019) quoting Malibu Media, LLC v. Doe, No. PWG-13-365, 2014 WL 7188822,

at *4 (D. Md. Dec. 16, 2014) quoting Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir.

2010). The Plaintiff is a post-confirmation trust created by the Debtor’s plan, represented by the

same counsel as the Official Committee of Unsecured Creditors that preceded it. There has been

no barrier preventing the Plaintiff from obtaining the necessary facts to make well-pled allegations

against Tiffany Shade. The Plaintiff has access to the Debtor’s books and records, summary

material prepared before and during the bankruptcy, and copious documents and emails obtained

from the Defendants. Tiffany Shade is not withholding her job title or job responsibilities; the

Plaintiff has simply failed to investigate them. The Complaint’s allegations on information and




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belief must be disregarded. Without those allegations, there are no facts to rebut the presumption

that Tiffany Shade provided services equal in value to her salary.

         Pursuant to JKJ Chevrolet, each pay period the Employee Defendants “subsequently

advanced” additional services to the Debtor that were worth the amount of their compensation for

that pay period. With each pay period, the potential preference liability from the earlier transfer

was satisfied by the subsequent, allegedly-preferential transfer. The end result of this analysis is

that, at most, the Plaintiff could recover the last prepetition Transfer as a preference.

         In fact, Greg Greenberg’s salary history shows that he continued to provide services, but

did not receive compensation between June 17, 2022 and October 21, 2022. Ex. A at 33. This

spans eight (8) bi-weekly pay periods where Greg Greenberg provided subsequent new value that

reduces any preference liability for earlier transfers.       At the usual salary, this represents

$259,938.48 in subsequent new value.

         Payments to the Employee Defendants were made bi-weekly on account of work done two

weeks before. In the two pay periods leading up to the Petition Date, Greg Greenberg did not

receive payment for his services at all. Ex. A at 8. Similarly, Amanda Greenberg and Tiffany

Shade did not receive payment for their last period worked. Ex. A at 8-9. The subsequent new

value provided by these unpaid final pay periods eliminates any remaining preference liability.

Per the facts alleged in the Complaint and the salary history in the SOFA, this claim must be

dismissed as against the Employee Defendants.

         G.     The Plaintiff Cannot Avoid the Transfers Because They Were Made for
                Reasonably Equivalent Value

         To avoid salary payments as constructively fraudulent transfers, the Plaintiff must show

that they were paid without receiving reasonably equivalent value in exchange, or without fair




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consideration. 11 U.S.C. § 548(a)(1)(B)(i) (reasonably equivalent value); Md. Code §§ 15-204,

205, 206 (fair consideration). These concepts involve the same basic analysis.

         The Plaintiff must affirmatively show a lack of fair consideration or reasonably equivalent

value. Field v. United States (In re Abatement Envtl. Res., Inc.), 102 F. App’x 272, 277 (4th Cir.

2004) (plaintiff must demonstrate lack of fair consideration); Hovis v. Ducate (In re Ducate), 369

B.R. 251, 262 (Bankr. D.S.C. 2007) (Plaintiff’s burden to show lack of reasonably equivalent

value, and “This burden of proof never shifts.”).

         The date for defining reasonable equivalence of value is the date of the transfer. In re

Persinger, 545 B.R. 896, 903 (Bankr. E.D.N.C. 2016). While there is no precise formula for

determining reasonable equivalence, an important element of this consideration is fair market

value. In re Roti, 271 B.R. 281, 295 (Bankr. N.D. Ill. 2002).

         “Services provided in return for salary payments are presumed to constitute ‘fair

consideration’ and ‘reasonably equivalent value’” unless clearly excessive given the employee’s

responsibilities. Graham v. Serafis (In re Vill. Red Rest. Corp.), 2021 Bankr. LEXIS 2377, at *22

(Bankr. S.D.N.Y. Aug. 31, 2021).

         As one court elaborated,

         Generally, payments of salary are presumed to have been made for fair
         consideration. In re TC Liquidations LLC, 463 B.R. at 268. This rebuttable
         presumption makes for ‘tough sledding’ by bankruptcy trustees inclined to attack
         employee compensation as fraudulent transfers. For a trustee to succeed, he must
         either establish that 1) the compensation payments were made in bad faith (i.e.,
         were actual fraudulent conveyances under 548(a)(1)(A)) or else 2) the
         compensation was excessive in light of the Defendants’ employment
         responsibilities (i.e., a constructive fraudulent conveyance under 548(a)(1)(B)).
         Id.; see also In re S. Textile Knitters, 65 F. App’x. 426, 437 (4th Cir.2003); Cilco
         Cement Corp. v. White, 55 A.D.2d 668, 668, 390 N.Y.S.2d 178 (2d Dep’t 1976)
         (salary paid to the president of the company was not a fraudulent conveyance
         because there was “no evidence that his salary was either excessive or
         unreasonable, or that the corporation did not receive full value in return.”); Mills v.
         Everest Reinsurance Co., 410 F.Supp.2d 243, 254 (S.D.N.Y. 2006).


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In re Ballantyne Brands, LLC, 656 B.R. 117, 139–40 (Bankr. W.D.N.C. 2023).

         An S corporation’s payment of tax liabilities passed through to owners is reasonably

equivalent value if the company is obligated to provide for tax disbursements. Crumpton v.

Stephens (In re Northlake Foods, Inc.), 715 F.3d 1251, 1256 (11th Cir. 2013) (transferee was

entitled to judgment on the pleading for constructive fraudulent transfer claim because agreement

by debtor to pay passed-through tax liability in exchange for S corporation status “provides [the

debtor] with valuable benefits by virtue of its S-corporation election”); Gold v. United States (In

re Kenrob Info. Tech. Sols.), 474 B.R. 799, 803 (Bankr. E.D. Va. 2012) (unwritten “agreement

between the shareholders and the corporation [to elect S corporation tax status] was valuable

consideration to the corporation where the tax payments on behalf of the shareholders represented

no more than the pass-through tax liability”).

         As discussed above, the Direct Tax Payments were payments to taxing authorities made by

the Debtor on account of passed-through tax liability. If the Debtor had not been a pass-through

tax entity and had not made the Direct Tax Payments on behalf of the applicable Defendants, the

Debtor would have been obligated to make those tax payments at the entity level anyway.

Although the Direct Tax Payments are not avoidable for reasons discussed above, they also

provided reasonably equivalent value and fair consideration to the Debtor.

         As for other compensation payments to Greg Greenberg, the Complaint does not identify

which payments it seeks to avoid or how much it seeks to recover. It generally alleges that some

of the Transfers were made on account of inflated salary. As discussed above, this is insufficient

to state a claim.

         It is also insufficient to rebut the presumption that Greg Greenberg’s compensation was

reasonably equivalent or fair consideration for his services. The Complaint pleads that Greg


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Greenberg “ran the Debtor’s day-to-day business” during the entire relevant period. Compl. ¶ 20.

The Complaint does not plead anything about his job responsibilities, or any other facts

substantiating the alleged inflation of his compensation. The Complaint does not plead anything

about the size or complexity of the Debtor’s business, how similarly-situated officers at other

companies were compensated or how Greg Greenberg’s compensation was determined. The

Complaint pleads that his compensation exceeded that of his predecessor, but omits any mention

of when Greg Greenberg took over from his predecessor. 2 The Complaint does not rebut the

presumption that compensation is reasonably equivalent and given for fair consideration. Counts

II and III must be dismissed as to Greg Greenberg.

         H.      The Complaint Does Not Plead the Existence of, or any Facts Supporting,
                 Alleged Breach of Fiduciary Duties

         Under Maryland law, “there is no universal or omnibus tort for the redress of breach of

fiduciary duty by any and all fiduciaries.” Kann v. Kann, 344 Md. 689, 713, 690 A.2d 509, 521

(1997). To state a claim for fiduciary breach, the Plaintiff must show “(i) the existence of a

fiduciary relationship; (ii) breach of the duty owed by the fiduciary to the beneficiary; and

(iii) harm to the beneficiary.” Plank v. Cherneski, 469 Md. 548, 599, 231 A.3d 436, 466 (2020)

quoting Froelich v. Erickson, 96 F. Supp. 2d 507, 526 (D. Md. 2000), aff'd sub nom. Froelich v.

Senior Campus Living, LLC, 5 F. App’x 287 (4th Cir. 2001).

         The Complaint does not identify the fiduciary duties allegedly breached. It formulaically

pleads that Greg and Theodore Greenberg breached “fiduciary duties of care and loyalty.” Compl.

¶ 67. A breach of the duty of loyalty arises under Maryland law when a corporate officer prefers

himself to the corporation, generally by appropriating a business opportunity. Lyon v. Campbell,

707 A.2d 850, 864 (Md. Ct. Spec. App. 1998). Likewise, a breach of the duty of care arises from


2
         Greg Greenberg assumed his current role in 2013.

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an allegation that the fiduciary made an unjustifiable decision to the detriment of the corporation.

Werbowsky v. Collomb, 766 A.2d 123, 133 (Md. 2001) (“[D]irectors are required to perform their

duties in good faith, in a manner they reasonably believe to be in the best interest of the corporation,

and with the care that an ordinarily prudent person in a like position would use under similar

circumstances.”). Corporate decision making is protected by the business judgment rule, and a

court will impose liability for a “decision only if the challenger produces evidence establishing

that the directors acted in bad faith.” Froelich v. Erickson, 96 F. Supp. 2d 507, 520 (D. Md. 2000)

aff'd sub nom. Froelich v. Senior Campus Living, LLC, 5 F. App’x 287 (4th Cir. 2001) citing Nat’l

Ass’n for the Advancement of Colored People v. Golding, 342 Md. 663, 679 A.2d 554 (Md. 1996).

         The Complaint identifies only one decision as an alleged fiduciary breach: “Greg

Greenberg and Theodore Greenberg breached these duties by approving salaries for Greg

Greenberg, Amanda Greenberg, and Tiffany Shade that were grossly disproportionate to the value

each employee provided to the Debtor.” Compl. ¶ 68.

         It is not clear how Theodore Greenberg could have breached his duty of loyalty for this

decision, since he did not advantage himself in any way by approving salaries for other people.

         As discussed above, the Complaint has failed to undercut the presumption that

compensation to the Employee Defendants is proper. However, even if that presumption is

rebutted, the Complaint does not plead facts showing bad faith by Greg or Theodore Greenberg.

In fact, the Complaint pleads nothing at all about their mental state or the process by which they

allegedly approved the challenged compensation. These allegations are insufficient to overcome

the business judgment rule. The Complaint does not state a claim for fiduciary breach and must

be dismissed.




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         I.     The Complaint Does Not Meet the Heightened Pleading Standard Pursuant to
                Rule 9(b)

         Counts VI alleges intentional fraud. This claim is subject to the heightened pleading

standard of Fed. R. Civ. P. 9(b) (applicable pursuant to Fed. R. Bankr. P. 7009), which provides

that “In alleging fraud or mistake, a party must state with particularity the circumstances

constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a person’s mind

may be alleged generally.”

         To plead fraud, a complaint must specifically “include the ‘time, place and contents of the

false representation, as well as the identity of the person making the misrepresentation and what

[was] obtained thereby.’” Superior Bank, F.S.B. v. Tandem Nat'l Mortg., Inc., 197 F.Supp.2d 298,

313–14 (D. Md. 2000) quoting Windsor Assocs., Inc. v. Greenfeld, 564 F.Supp. 273, 280 (D. Md.

1983); see also Shulman v. Progressive Com. Cas. Co., No. CV DKC 19-1709, 2020 WL 758239,

at *4 (D. Md. Feb. 14, 2020). In Shulman, a fraud claim was dismissed when the complaint did

not describe what the defendants gained from the alleged fraud, when the fraud occurred or who

the fraudulent statements were given to.

         The Complaint alleges that the Debtor’s former president “knowingly and intentionally

misrepresented that payments made using his company credit card were for work related expenses.

Instead, many or all the expenses were personal in nature.” Compl. ¶ 71. This is the extent of the

factual allegations supporting the alleged fraud. The Complaint does not allege who these false

representations were made to, when those representations were made, what those representations

contained or how much he allegedly obtained by making these representations. The Complaint

instead notes the total amount of spending on the company card and avers that some portion of

that total, incurred at some point for unidentified purchases, was for personal expenses. Compl. ¶

45 (Former president “spent $671,095.54 on the company credit card, largely for personal


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expenses…”). This cursory and conclusory allegation is totally insufficient to meet the heightened

pleading standard of Fed. R. Civ. P. 9(b), and Count VI must be dismissed.

                                         CONCLUSION

         The Complaint does not sufficiently plead specific facts, and must be dismissed entirely

pursuant to Fed. R. Civ. P. 8. In the alternative, the Complaint does not plead the Debtor’s

insolvency or financial distress, so Counts I through IV seeking avoidance and recovery must be

dismissed. The Complaint does not identify how any Defendant breached a fiduciary duty, so

Count V must be dismissed. The Complaint does not meet the heightened pleading requirements

of Fed. R. Civ. P. 9, so Count VI for intentional fraud must be dismissed.




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                (Baltimore Division)


In re:                                         (Chapter 11)

ESCO, LTD.,                                    Case No. 23-12237 (DER)

Debtor.


ESCO, LTD. LIQUIDATING TRUST,                  Adv. Pro. No. 24-00120 (DER)
Plaintiff,

v.

GREG GREENBERG, THEODORE
GREENBERG, BETH GREENBERG,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 1,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 2,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 3,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 4,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 5, AMANDA
GREENBERG, AND TIFFANY SHADE,

Defendants.


                         DEFENDANTS’ MOTION TO DISMISS

         Defendants Greg Greenberg, Theodore Greenberg, Beth Greenberg, Greenberg Family

2012 Irrevocable Trust No. 1, Greenberg Family 2012 Irrevocable Trust No. 2, Greenberg Family

2012 Irrevocable Trust No. 3, Greenberg Family 2017 Irrevocable Trust No. 4 (incorrectly named

in the Complaint as Greenberg Family 2012 Irrevocable Trust No. 4), Greenberg Family 2017

Irrevocable Trust No. 5 (incorrectly named in the Complaint as Greenberg Family 2012




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Irrevocable Trust No. 5), Amanda Greenberg, and Tiffany Shade (the “Defendants”), by and

through undersigned counsel, hereby move this Court for an Order dismissing the complaint (the

“Complaint”) filed by The ESCO, Ltd. Liquidating Trust (the “Plaintiff”) pursuant to Fed. R. Civ.

P. 12(b)(6), applicable in this proceeding pursuant to Fed. R. Bankr. P. 7012.

          The grounds and authorities for this motion are set forth in the accompanying memorandum

of law.

          WHEREFORE, the Defendants respectfully request that this Court dismiss the Complaint

with prejudice.

Dated: July 29, 2024                                  SAUL EWING LLP


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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
                               (Baltimore Division)


In re:                                       (Chapter 11)

ESCO, LTD.,                                  Case No. 23-12237 (DER)

Debtor.


ESCO, LTD. LIQUIDATING TRUST,                Adv. Pro. No. 24-120 (DER)
Plaintiff,

v.

GREG GREENBERG, THEODORE
GREENBERG, BETH GREENBERG,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 1,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 2,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 3,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 4,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 5, AMANDA
GREENBERG, AND TIFFANY SHADE,

Defendants.


         MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

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                                    PRELIMINARY STATEMENT1

         The Complaint is full of legal conclusions and colorful adjectives and adverbs, but

woefully short of facts that would plausibly suggest liability against the Defendants. It seeks to

claw back prepetition payments, but does not specify the amount and date of the payments. It

ignores the Plaintiff’s obligation to allege facts relating to insolvency, blithely and conveniently

concluding—with no discussion of real financial facts—that the Debtor was insolvent for the entire

three-year period prepetition. It questions the use of the company’s credit card, but makes no

specific allegations of improper use.

         Plaintiff must do more in order to sufficiently state a claim against the Defendants. The

Federal Rules and case law under Iqbal and its progeny demand it. What is more, Plaintiff cannot

claim—as many other trustees credibly can—that it is unable to allege specific facts because of

lack of knowledge, and therefore the pleading standards should be softened. The Committee

(represented by the same counsel as Plaintiff) conducted an extensive review of the relevant

documents, with the Defendants consenting to the Committee’s Rule 2004 examination and

voluntarily producing over 2,500 documents. The Court should certainly take this into account in

determining whether the Complaint plausibly states a claim against Defendants: the Plaintiff had

plenty of documents and other materials to develop the facts regarding the potential claims against

the Defendants, and the best that Plaintiff can come up with is a flimsy collection of legal

conclusions and unsupported aspersions against the management and owners of the Debtor.

         The Complaint should be denied with prejudice.




1
  Any capitalized term not otherwise defined herein shall have the same meaning as that ascribed to it elsewhere in
this Brief.

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                    INTRODUCTION AND SUMMARY OF ARGUMENT

         The ESCO, Ltd. Liquidating Trust (“Plaintiff”), the liquidating trust established in the

bankruptcy of debtor ESCO Ltd. (the “Debtor”), filed the complaint in the instant case (the

“Complaint”) against Defendants Greg Greenberg, Theodore Greenberg, Beth Greenberg,

Greenberg Family 2012 Irrevocable Trust No. 1, Greenberg Family 2012 Irrevocable Trust No. 2,

Greenberg Family 2012 Irrevocable Trust No. 3, Greenberg Family 2017 Irrevocable Trust No. 4

(incorrectly named in the Complaint as Greenberg Family 2012 Irrevocable Trust No. 4),

Greenberg Family 2017 Irrevocable Trust No. 5 (incorrectly named in the Complaint as Greenberg

Family 2012 Irrevocable Trust No. 5), Amanda Greenberg, and Tiffany Shade (the “Defendants”)

seeking to avoid alleged preferential or constructively fraudulent transfers, and bringing additional

claims for breach of fiduciary duty and intentional fraud against the Debtor’s former top officers.

         The Complaint does not identify the date or amount of most challenged transfers, and

therefore does not sufficiently allege a claim to avoid such transfers. It includes no exhibits, such

as those that normally accompany an avoidance action complaint, providing facts relating to the

nature of the debt paid, the date of payment, and the amount of payment. It generally repeats the

statutory elements (e.g., simply repeating the elements of section 547 of the Bankruptcy Code, but

framing them as conclusions) without supporting facts, and alleges that some of the challenged

transfers might (or might not) be made without reasonably equivalent value, or on account of an

antecedent debt. The Complaint should be dismissed on this basis alone, since it does not fairly

apprise the Defendants of what is actually being challenged.

         Plaintiff’s avoidance action claims fail on multiple, independent levels. For most of the

avoidance action claims, it is Plaintiff’s burden to allege facts plausibly suggesting insolvency at

the time of the transfer. However, the Complaint neglects to plead the Debtor’s insolvency or

other financial distress, so all avoidance claims are ill-pled. It seeks to avoid and recover tax

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withholdings that—as a matter of law—were not estate property, or payments made directly to

taxing authorities where the Defendants were not transferees; these portions of the Complaint must

be dismissed with prejudice. The Complaint seeks to avoid as a preference an equity distribution

payment not made on account of an antecedent debt. This claim must also be dismissed with

prejudice. The Complaint does not plausibly plead the insider status of certain Defendants, so—

as a matter of law—the applicable preference period must be limited to ninety days prepetition

(rather than one year).

         The Complaint seeks to avoid salary payments to Greg Greenberg, Amanda Greenberg,

and Tiffany Shade as preferences or constructively fraudulent transfers, but does not attempt to

rebut the presumption that the value of an employee’s compensation is equal to the value of the

services provided. In addition to failing on that prima facie issue, the Complaint ignores the

defenses that are clear from the face of the Complaint: the subsequent new value and reasonably

equivalent value provided by these Defendants’ services. Accordingly, the avoidance claims

against Greg Greenberg, Amanda Greenberg, and Tiffany Shade must be dismissed.

         The Complaint does not identify how Greg Greenberg or Theodore Greenberg allegedly

breached their fiduciary duties in approving compensation, and cannot overcome the business

judgment rule. The Plaintiff cannot plausibly state a claim for breach of fiduciary without

specifying the facts underlying this legal conclusion. In other words, Plaintiff cannot merely

conclude “breach of fiduciary duty” and have it stick. This claim is ill-pled and must be dismissed.

         The Complaint alleges intentional fraud against the Debtor’s former president, but does not

plead the time, contents, or recipient of his allegedly fraudulent statements. This does not meet

the heightened pleading standard for intentional fraud.




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         In sum, the Complaint is a nonspecific set of legal conclusions that does not state a claim

or put the Defendants on notice of the facts supporting claims against them. It must be dismissed

entirely with prejudice.

                                  JURISDICTION AND VENUE

         The Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §§ 157(b)

and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157(b).

         Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         The statutory predicates for the relief requested herein are 11 U.S.C. §§ 544, 547, 548, 550,

Fed. R. Bankr. P. 7008, 7009, 7012 and Fed. R. Civ. P. 8, 9, 12.

         Pursuant to Rule 7012-1 of the Local Bankruptcy Rules of the United States Bankruptcy

Court for the District of Maryland, Defendants do not consent to the entry of a final order by the

Court in connection with this Motion, if it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                          BACKGROUND

         On March 31, 2023 (the “Petition Date”), ESCO filed a voluntary petition for relief under

Chapter 11 of the Bankruptcy Code.

         During the pendency of this case, the Official Committee of Unsecured Creditors moved

pursuant to Fed. R. Bankr. P. 2004 to obtain documents from certain Defendants, primarily Greg

Greenberg. (Bkr. D.I. 307). The Defendants did not oppose the motion and consented to the

requested relief. (Bkr. D.I. 314). Greg Greenberg produced thousands of documents to the Official

Committee of Unsecured Creditors – which was represented by the same counsel as the Plaintiff.

Counsel for the Official Committee of Unsecured Creditors never raised any issues or suggested



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Greg Greenberg did not comply with his production responsibilities. None of those documents

are included as exhibits to the Complaint.

         On November 16, 2023, the Court confirmed the Debtor’s plan of liquidation, which

established the Plaintiff and vested the Plaintiff with the right to pursue the Debtor’s and the

estate’s causes of action. (Bkr. D.I. 389).

         The Plaintiff filed the Complaint on May 20, 2024, commencing the instant adversary

proceeding. By agreement between the Defendants and the Plaintiff, the Defendants’ time to

respond to the Complaint was set for July 22, 2024, and later extended to July 29, 2024.

                                 SUMMARY OF COMPLAINT

         The Complaint primarily seeks to avoid and recover transfers made to the Defendants. The

Complaint does not include a list of most of the transfers it seeks to avoid, or when those transfers

were made. It merely alleges that,

               during the three years before the Petition Date (the “Transfer Period”) and
               one year before the Petition Date (the “Preference Period”), the Debtor was
               insolvent yet made avoidable transfers to the insider Defendants in the form
               of equity distributions, compensation, and reimbursements for credit card
               expenses (each a “Transfer,” and together the “Transfers”). These Transfers
               to the insider Defendants total nearly $9 million.

Compl. ¶ 35.

         The Complaint brings six counts against the Defendants:

         Count I seeks to avoid as preferences under Bankruptcy Code Section 547 any of these

Transfers that occurred between March 31, 2022 and the bankruptcy filing date of March 31, 2023.

This claim is apparently brought against all Defendants.

         Count II seeks to avoid Transfers as constructively fraudulent under Bankruptcy Code

Section 548(a)(1)(B). This claim is apparently brought against all Defendants and seeks recovery

of all Transfers made since March 31, 2021.


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         Count III seeks to avoid these transfers under the Maryland Uniform Fraudulent Transfer

Act (“MUFCA”), Md. Code §§ 15-204 et. seq., made applicable by Bankruptcy Code Section

544(b)(2). This claim is apparently brought against all Defendants and seeks recovery of all

Transfers made since March 31, 2020.

         Count IV seeks recovery of the amounts of the Transfers avoided by Counts I-III pursuant

to Bankruptcy Code Section 550, and is brought against all Defendants.

         Count V is brought against Greg and Theodore Greenberg. It seeks an unliquidated

recovery on account of alleged fiduciary breaches by Greg and Theodore Greenberg.

         Count VI is brought only against Greg Greenberg. It seeks an unliquidated amount on

account of alleged intentional fraud for Greg Greenberg’s use of the company credit card for

personal expenses.

                                            ARGUMENT

         A.     Motion to Dismiss Standard

         Under Federal Rule 12(b)(6), a party may move to dismiss for failure to state a claim upon

which relief may be granted. “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (cleaned up). Dismissal is appropriate where “the complaint lacks

a cognizable legal theory or sufficient facts to support a cognizable legal theory.” Mendiono v.

Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

         “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”

Iqbal, 556 U.S. at 679. “[W]here the well-pleaded facts do not permit the court to infer more than

the mere possibility of misconduct, the complaint has alleged — but it has not ‘show[n]’—‘that

the pleader is entitled to relief.’” Id. (quoting Fed. R. Civ. Proc. 8(a)(2)).



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         In evaluating this Motion, the Court may look not only to the Complaint, but also to matters

of public record, such as documents filed in the Debtor’s chapter 11 proceeding. See United States

v. Sierra Pac. Indus., Inc., 862 F.3d 1157, 1171 (9th Cir. 2017) (holding that trial court may

properly consider prior court proceedings before that trial court in a motion to dismiss).

         B.     The Complaint is Inadequately Pled Pursuant to Rule 8

         Pursuant to Fed. R. Civ. P. 8(a)(2), applicable pursuant to Fed. R. Bankr. P. 7008, a

complaint must contain “a short and plain statement of the claim showing that the pleader is

entitled to relief.”

         The Complaint is largely one for avoidance of the Transfers. A complaint merely alleging

that a debtor made transfers is insufficient to plead an avoidance claim. In re Caremerica, Inc.,

409 B.R. 737, 750 (Bankr. E.D.N.C. 2009) (preference claim dismissed because complaint’s

unsupported “assertion that “the debtors transferred its (sic) funds into bank accounts operated by

the debtors’ principals” is merely a conclusory statement that lacks factual support.”). Other courts

have given guidance on when a complaint sufficiently pleads facts supporting a preference claim.

Beaman v. Barth (In re AmeriLink, Ltd.), No. 09-01055-8-JRL, 2011 WL 864953, at *2 (Bankr.

E.D.N.C. Mar. 11, 2011) (“To comply with the heightened pleading standards for § 547 claims,

the complaint must include (a) an identification of the nature and amount of each antecedent debt

and (b) an identification of each alleged preferential transfer by (i) date, (ii) name of

debtor/transferor, (iii) name of transferee and (iv) amount of the transfer.”).

         The purpose of the Fed. R. Civ. P. 8(a)(2) pleading standard is “to apprise the defendant

fairly of the charges made against him.” In re AstroPower Liquidating Trust, 335 B.R. 309, 333

(Bankr. D. Del. 2005).

         At the very least, an avoidance complaint must identify “who transferred what to whom

and when,” because only that level of specificity will permit a defendant “to mount whatever

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defenses may be available.” Tousa Homes, Inc. v. Palm Beach Newspapers, Inc. (In re TOUSA,

Inc.), 442 B.R. 852, 855–56 (Bankr. S.D. Fla. 2010). “[C]omplaints that identify the dates,

amounts, source, and transferee of each of the alleged transfers successfully support claims of

constructive fraudulent transfer under Fed. R. Civ. Pro. 8(a)(2)’s pleading standard.” In re

PennySaver USA Publ'g, LLC, 602 B.R. 256, 266 (Bankr. D. Del. 2019).

         The Complaint attempts to challenge Transfers made at unspecified times in unspecified

amounts. In the “Claims for Relief” section laying out the counts in the Complaint, the Plaintiff

seeks to avoid alleged constructively fraudulent transfers if they were made during the relevant

lookback period and “were not made on account of an antecedent debt, or was a prepayment for

goods and/or services subsequently received.” Compl. ¶¶ 56, 60. This is not an allegation of facts

that must be taken a true, it is an allegation that if certain facts are true the Plaintiff might state a

claim. This kind of hedging, conditional statement cannot adequately allege facts supporting a

claim.

         The Complaint refers to the Debtor’s records but attaches none of them. The Debtor’s

Statement of Financial Affairs (the “SOFA”) discloses transactions to certain Defendants during

the year prepetition. (Bkr. D.I. 149). A true and correct copy of the SOFA is attached hereto as

Exhibit A, and may be judicially noticed by the Court in consideration of this Motion. The SOFA

demonstrates the inadequacy of the Complaint: the salary history shows dozens of transfers to

various Defendants over a one-year period that are described as “Gross Salary,” including amounts

withheld for taxes and not received by any Defendant. See Ex. A at 32-35. From the allegations

in the Complaint, the Defendants cannot determine with certainty which transactions are being

challenged, and whether the Plaintiff seeks to recover the gross amount (including amounts

withheld for taxes), or only the net amount.



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         The Complaint essentially amounts to a statement that, if certain unpled facts are true,

Plaintiff can recover some amount transferred during some time period. This indistinct pleading

is insufficient under Fed. R. Civ. P. 8, and must be dismissed entirely.

         C.     The Plaintiff Did Not Plead the Debtor’s Insolvency

         The avoidance causes of action in Counts I, II and III all require the Plaintiff to plead at

least one of three financial distress criteria:

               Book-value insolvency, meaning debts exceeding assets (11 U.S.C. § 547(b)(3); 11
                U.S.C. § 548(a)(1)(B)(ii)(I); Md. Code § 15-204);
               Inadequate capitalization (11 U.S.C. § 548(a)(1)(B)(ii)(II); Md. Code § 15-205); or
               Intent to incur debts beyond the debtor’s ability to repay (11 U.S.C. §
                548(a)(1)(B)(ii)(III); Md. Code § 15-206).

         Insolvency is presumed under Section 547 for the 90 days prepetition. 11 U.S.C. § 547(f).

The Plaintiff seeks to avoid alleged preference to insiders up to a year prepetition. The Plaintiff

does not have a presumption of insolvency for the period from 365 to 91 days prepetition (the

“Insider Lookback Period”).

         To assess insolvency, courts compare a debtor’s assets and liabilities in a straightforward

book-value calculation. Molovinsky v. Fair Emp. Council of Greater Washington, Inc., 839 A.2d

755, 766 (Md. Ct. Spec. App. 2003) citing F.S. Bowen Elec. Co. v. United States Fid. & Guar.

Co., 256 F.2d 46, 49 (4th Cir. 1958) (stating that the “[d]etermination of the issue of solvency ...

requires an appraisal of probable liabilities as well as the salable value of assets”). “[W]here a

business is a ‘going concern,’ considering goodwill in a solvency analysis seems highly

appropriate.” BAA, PLC v. Acacia Mut. Life Ins. Co., 929 A.2d 1, 19 (Md. 2007) citing Md. Code

§ 15-202(a).

         “To determine whether a debtor is undercapitalized (or retains unreasonably small assets),

courts look to whether the debtor has an ‘inability to generate sufficient profits to sustain



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operations ....’” Smith v. Litchford & Christopher, P.A. (In re Bay Vista of VA., Inc.), 428 B.R.

197, 225 (Bankr. E.D. Va. 2010). “Among the relevant data are cash flow, net sales, gross profit

margins, and net profits and losses.” Moody v. Security Pac, Business Credit, 971 F.2d 1056, 1073

(3d Cir. 1992).

         Intent to incur debts beyond the ability to repay is shown by an analysis of the subjective

intent of the debtor when making the transfer. Leibersohn v. Campus Crusade for Christ, Inc. (In

re C.F. Foods, L.P.), 280 B.R. 103, 116–17 (Bankr. E.D. Pa. 2002); see also In re Operations NY

LLC, 490 B.R. 84, 98 (Bankr. S.D.N.Y. 2013) (under the Bankruptcy Code); Fick v. Perpetual

Title Co., 694 A.2d 138, 149 (Md. Ct. Spec. App. 1997) (affirming denial of plaintiff’s summary

judgment motion under MUFCA “because we do not know the extent of [debtor’s] assets or

liabilities at any relevant point in time, we cannot infer what [debtor] intended or believed prior to

making any transfer.”). This element is established if “the debtor could not have reasonably

believed that it would be able to pay its debts as they matured.” In re Doctors Hosp. of Hyde Park,

Inc., 507 B.R. 558, 635–36 (Bankr. N.D. Ill. 2013) citing Barrett v. Continental Ill. Nat'l Bank &

Trust Co., 882 F.2d 1 (1st Cir. 1989), cert. denied, 494 U.S. 1028 (1990); see also In re EBC I,

Inc., 380 B.R. 348, 359 (Bankr. D. Del. 2008).

         These financial distress criteria cannot be assumed just because a debtor in is bankruptcy;

each requires at least some level of factual support. The Complaint does not adequately plead any

of these financial distress criteria.    It formulaically recites the statutory elements without

elaboration. Compl. ¶¶ 4, 52, 55, 60. This is insufficient to plead these essential elements of the

avoidance claims.

         The Complaint contains only one other relevant allegation, a footnote that alleges that the

“Debtor incurred operating losses of approximately $280,000 and $1.76 million in fiscal years



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2020 and 2021, respectively, which had a significant negative impact on the Debtor’s financial

position and liquidity.” Compl. at ¶ 35 & n.11. This allegation does not provide any factual

support for alleged financial distress in 2022 or 2023, and cannot support a finding of insolvency

during those fiscal years.

         The existence of net operating losses is irrelevant to the calculation of book-value

insolvency; it says nothing about the Debtor’s assets or liabilities except to show a potentially-

valuable tax attribute: deductible net operating losses. In fact, the Debtor’s schedules show that

on the Petition Date its assets were $15,878,355.41 and its liabilities were $16,055,635.73. (Bkr.

D.I. 148 at 10). At the most acute moment of the Debtor’s financial struggles, and after paying a

number of professionals in preparation for the bankruptcy, the Debtor was only book value

insolvent by approximately $177,000.00. For comparison, the Debtor’s gross revenue for the year

prepetition exceeded $35 million. Ex. A at 10. It is implausible to suggest the Debtor was

insolvent for a substantial period of time before the Petition Date; the judicially noticeable facts

suggest that the Debtor only tipped into book value insolvency mere weeks before the Petition

Date.

         The existence of net operating losses is merely one fact that could potentially support a

finding of insufficient capitalization, but is insufficient on its own. The Complaint pleads no other

facts regarding inadequate capitalization.

         The existence of net operating losses in 2020 and 2021 does not demonstrate the amount

of the Debtor’s debts at those times, or the Debtor’s intent in incurring debts at those times. Many

companies generate net operating losses and are subsequently able to repay their debts; the

Complaint does not even attempt to address the other facts necessary to establish that the Debtor

intentionally incurred debts beyond its ability to repay. The SOFA indicates that in the 2020 and



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2021 fiscal years, the Debtor had gross revenue exceeding $63 million and $55 million,

respectively. Ex. A at 10. Compared to the overall size of the business, the reported net operating

losses are comparatively small and do not plausibly indicate an unbearable debt load.

         The Complaint does not even bother to address alleged inadequate capitalization. The

Complaint contains no facts regarding the Debtor’s intent in incurring debts, the amount of those

debts, the amount of the Debtor’s assets, the Debtor’s cash flows, net sales, or profit margins for

any period.

         The Complaint does not plead the Debtor’s insolvency, inadequate capitalization or intent

to incur debts beyond its ability to repay. Count I must be dismissed as to all Transfers during the

Insider Lookback Period. Counts II and III must be dismissed entirely.

         D.       The Plaintiff Cannot Avoid the Tax Withholdings Because They Were Not
                  Property of the Estate

         The avoidance causes of action in Counts I, II and III all require the Plaintiff to plead a

transfer of some property of the debtor.

         “The Internal Revenue Code requires employers to withhold federal social security,

hospital insurance, and income taxes from the wages of their employees and to turn over the

withheld amounts to the United States. See I.R.C. §§ 3102(a), 3402(a). The withheld taxes

constitute a special fund held in trust for the benefit of the United States.” Lyon v. United States,

68 F. App’x 461, 466 (4th Cir. 2003). A debtor’s “payments of trust-fund taxes to the IRS from

its general accounts were not transfers of ‘property of the debtor,’ but were instead transfers of

property held in trust for the Government pursuant to [Internal Revenue Code] § 7501. Such

payments therefore cannot be avoided as preferences.” Begier v. IRS, 496 U.S. 53, 67 (1990).

This principle applies to Section 544 and 548 as well – both require a transfer of an “interest of




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the debtor in property,” and amounts in trust are not debtor property. French v. Liebmann (In re

French), 440 F.3d 145, 151 (4th Cir. 2006) (Begier’s principles apply to Section 548 actions).

         The Complaint identifies “approximately $6 million” in compensation paid to Greg

Greenberg, Amanda Greenberg and Tiffany Shade that the Plaintiff seeks to avoid.                  This

approximate number is the gross compensation, not reduced by trust fund tax withholdings. As

such, the Complaint seeks to avoid amounts that were withheld for taxes that were not property of

the Debtor. The Complaint must be dismissed with prejudice as to any amounts withheld for taxes.

         E.     The Plaintiff Cannot Recover the Direct Tax Payments Because The
                Defendants Were Not Transferees

         Pursuant to Section 550 of the Bankruptcy Code, “the trustee may recover, for the benefit

of the estate, the property transferred … from (1) the initial transferee of such transfer…”

11 USC § 550(a)(1) (emphasis added). The Defendants are not transferees of the alleged

“distributions” to equity holders that were actually direct payments to taxing authorities.

         “When a debtor pays a creditor to satisfy a debt guaranteed by a third party, the creditor is

the initial transferee and the guarantor, who is no longer liable for the debt, is the entity for whose

benefit the transfer is made.” Englander v. Blunt (In re Essex Constr., LLC), 624 B.R. 103, 130

(Bankr. D. Md. 2020) citing Lowry v. Security Pacific Business Credit, Inc. (In re Columbia Data

Products, Inc.), 892 F.2d 26, 29 (4th Cir. 1989). Where a debtor directs that money be withheld

from a distribution and paid to a taxing authority, the taxing authority, not the distributee, is the

initial transferee of the funds. Iannacone v. IRS (In re Bauer), 318 B.R. 697, 702 (Bankr. D. Minn.

2005).

         The Debtor was a pass-through entity for tax purposes; its tax liability was passed to the

equity owner Defendants. The Debtor then paid the passed-through tax liability directly to the

applicable taxing authority.


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         The Complaint alleges that the Plaintiff has “identified $1,859,860 in distributions to the

equity holder insider Defendants.” Compl. at ¶ 39. The Complaint then includes a chart clearly

describing most of these payments as tax payments, not equity distributions. Id. The following

distributions (the “Direct Tax Payments”) totaling $1,717,824.00 were tax payments paid directly

to the applicable taxing authorities:

      Month Paid             Description                                          Amount

      July 2020              VA Tax Payment - 2019 Form VA8879 - Greg             $187.00

      July 2020              MD Tax Payment - 2019 Form MD502 – Greg              $68,677.00

      July 2020              IRS 2019 Extension – Ted                             $450,000.00

      July 2020              IRS 2019 Extension – Greg                            $383,276.00

      July 2020              IRS 2019 Trust #4                                    $48,848.00

      August 2020            IRS Trust #4 Estimated 2020 payment #1 & #2          $17,500.00

      September 2020         IRS Trust #4 Estimated 2020 payment #3               $8,750.00

      December 2020          2020 Form 1040-ES – Ted                              $175,000.00

      December 2020          2020 Form 1040-ES – Greg                             $170,000.00

      May 2021               IRS 2020 Form 4868 – Ted                             $10,000.00

      May 2021               IRS 2020 Form 4868 – Greg                            $52,000.00

      June 2021              2021 Form 1040 ES - Ted Q2                           $107,500.00

      June 2021              2021 Form 1040 ES - Greg Q2                          $55,000.00

      September 2021         1040 ES Q3 2021 – Greg                               $27,500.00

      September 2021         1040 ES Q3 2021 - Trust #4                           $4,186.00

      September 2021         1040 ES Q3 2021 – Ted                                $53,750.00




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      Month Paid              Description                                            Amount

      January 2022            1040 ES Q3 2021 – Greg                                 $27,500.00

      January 2022            1040 ES Q3 2021 - Trust #4                             $4,400.00

      January 2022            1040 ES Q3 2021 – Ted                                  $53,750.00

         The Defendants were not the transferees of the Direct Tax Payments, the applicable taxing

authorities were. The Plaintiff cannot recover the Direct Tax Payments from the Defendants, and

Count IV seeking recovery of the Direct Tax Payments pursuant to 11 U.S.C. § 550 must be

dismissed with prejudice.

         F.     The Plaintiff Cannot Avoid the Preference Period Transfers

                1.      The Complaint Does Not Plead that Tiffany Shade or the Trusts Were
                        Insiders

         The Complaint seeks to avoid Transfers made up to one year prepetition as preferences.

The Plaintiff may not avoid Transfers made during the 90 days prepetition unless the Complaint

adequately pleads that each Defendant is an insider. 11 U.S.C. § 547(b)(4)(B) (one-year lookback

period for transfers to insiders).

         An insider of a corporation includes the directors and officers of a debtor, persons in control

of a debtor or relatives thereof. 11 U.S.C. § 101(31)(B). “A former spouse, however, is not related

by affinity, and therefore ‘a former spouse will not be considered a relative.’” Dobin v. Hill (In re

Hill), 342 B.R. 183, 199 (Bankr. D.N.J. 2006) quoting 2 Collier on Bankruptcy ¶ 101.45 (15th ed.

Rev. 2006).

         Insiders also include affiliates of the debtor. 11 U.S.C. § 101(31)(E). An affiliate is, in

relevant part, an “entity that directly or indirectly owns, controls, or holds with power to vote, 20

percent or more of the outstanding voting securities of the debtor.” 11 U.S.C. § 101(2)(A).




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         Outside these statutory categories, a non-statutory insider “must exercise sufficient

authority over the debtor so as to unqualifiably dictate corporate policy and the disposition of

corporate assets.” Butler v. David Shaw, Inc., 72 F.3d 437, 443 (4th Cir. 1996) quoting Hunter v.

Babcock (In re Babcock Dairy Co.), 70 B.R. 662, 666 (Bankr. N.D. Ohio 1986).

         The Complaint alleges that Tiffany Shade “is the ex-wife of Brad Greenberg (the deceased

son of Theodore and deceased brother of Greg and Amanda).” Compl. ¶ 29. As a former spouse

of a family member of a director or officer she is not a relative of any of the Debtor’s officers or

controllers, and is not an insider.

         The Complaint alleges that Greenberg Family 2012 Irrevocable Trust No. 1, Greenberg

Family 2012 Irrevocable Trust No. 2, Greenberg Family 2012 Irrevocable Trust No. 3, Greenberg

Family 2012 Irrevocable Trust No. 4, and Greenberg Family 2012 Irrevocable Trust No. 5

(collectively, the “Trusts”) were equity holders of the Debtor. Compl. ¶¶ 23-27. Mere equity

ownership does not make the Trusts statutory insiders, and the Complaint does not plead any facts

regarding the Trusts’ voting rights or ownership percentages.

         The Complaint includes no allegations that Tiffany Shade or the Trusts had any authority

to dictate corporate decision-making or asset disposition. It includes no allegations that Tiffany

Shade or the Trusts ever attempted to assert or exercise such authority. The Complaint does not

plead any facts that would establish non-statutory insider status.

         Because the Complaint does not plead that Tiffany Shade and the Trusts are insiders of the

Debtor, all claims against them for Transfers during the Insider Lookback Period must be

dismissed.




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                2.     The Transfer to Greenberg Family 2017 Irrevocable Trust No. 4 Was
                       Not on Account of An Antecedent Debt

         A transfer may only be avoided as a preference if it is made “for or on account of an

antecedent debt owed by the debtor before such transfer was made.” 11 U.S.C. § 547(b)(2).

         The Bankruptcy Code recognizes the distinction between debts – amounts owed by the

debtor – and interests – which give the holder some form of ownership in the debtor.

         Distributions to equity are generally made on account of the interest holder’s ownership

rights, not on account of pre-existing obligations. As a result, “[e]quity distributions are not

ordinarily considered transfers made on account of an antecedent debt.” In re Dewey & LeBoeuf

LLP, 518 B.R. 766, 789 (Bankr. S.D.N.Y. 2014).

         The April 2022 Transfer of $90,523.00 to Greenberg Family 2017 Irrevocable Trust No. 4

is identified in the Complaint as a “distribution to the equity holder.” Compl. ¶ 39. The Complaint

identifies no pre-existing obligation of the Debtor to make that distribution. Taking the Complaint

on its face, this Transfer was made on account of Greenberg Family 2017 Irrevocable Trust No.

4’s ownership interest in the Debtor and cannot be avoided as a preference. This claim must be

dismissed as to Greenberg Family 2017 Irrevocable Trust No. 4 with prejudice.

                3.     Greg Greenberg, Amanda Greenberg, and Tiffany Shade Provided
                       Subsequent New Value to the Debtor

         A transfer cannot be avoided as a preference to the extent that the transferee provided

“subsequent new value,” defined as “money or money’s worth in goods, services, or new credit,

or release by a transferee of property previously transferred to such transferee in a transaction that

is neither void nor voidable by the debtor or the trustee under any applicable law, including

proceeds of such property, but does not include an obligation substituted for an existing

obligation.” 11 U.S.C. § 547(a)(2). Because Greg Greenberg, Amanda Greenberg, and Tiffany



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Shade (the “Employee Defendants”) provided subsequent new value, their compensation cannot

be avoided.

         The value of services provided by an employee is rebuttably presumed to be equal to their

compensation. In Re: Jones Truck Line, Inc., 130 F.3d 323, 328 (8th Cir. 1997) (“Absent contrary

evidence, the value of employee services is presumed to equal the wages and benefits the employer

contracted to pay”); In re Nomus–North Carolina, Inc., No. 01-50373, 2004 WL 574510 (Bankr.

M.D. N.C. 2004) (“Value of an employee[’s] services is presumed to equal wages and benefits

that an employer contracted to pay.”)

         In the Fourth Circuit, any new value provided after an alleged preferential transfer reduces

the transferee’s preference liability if that new value is paid for via an avoidable transfer. In re

JKJ Chevrolet, Inc., 412 F.3d 545, 552 (4th Cir. 2005) (adopting the “subsequent advance” theory

and rejecting the idea that Section 547(c)(4) requires new value to remain unpaid because “the

proper inquiry is whether the new value has been paid for by an ‘otherwise unavoidable transfer’”).

         After the first allegedly-avoidable transfer was made to Greg Greenberg, he continued to

provide the management and day-to-day operations services though the petition date. Compl. ¶

20. He is entitled to a presumption that his services were equal to the wages and benefits he was

paid by the Debtor. The Complaint does not include specific facts to rebut this presumption; it

baldly states his salary “exceeded the market rate” but does not even describe the responsibilities

of Greg Greenberg’s role. Compl. ¶ 42.

         The Complaint does not rebut the presumption of value for services as to Amanda

Greenberg either. The Complaint does not plead her job title or the services she was supposed to

perform. Instead it merely alleges that “she appeared to do no work.” Compl. ¶ 43. This is another

conditional statement – it does not actually plead that Amanda did no work. The Complaint’s



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other allegations are similarly irrelevant: she allegedly did not send any emails after 2011, but the

Complaint does not indicate whether she had a company email, used her personal email for

responses or even received company-related emails since 2011. Compl. ¶ 43. Lastly, the

Complaint alleges that Amanda lives in Florida where the Debtor has no offices. Compl. ¶ 43.

The recent prevalence of remote work demonstrates how this allegation is irrelevant to whether

Amanda Greenberg performed services, and remote work has been available for many business

jobs for decades.

         The Complaint does not rebut the presumption of value for services as to Tiffany Shade

either. Instead, it pleads the only allegations regarding Tiffany Shade’s services “upon information

and belief.” Compl. ¶ 44. “[B]ecause a complaint must plausibly state a claim, using ‘upon

information and belief’ as a pleading device survives a motion to dismiss only where ‘the facts are

peculiarly within the possession of the defendant, or where the belief is based on factual

information that makes the inference of culpability plausible.’” Stone v. Trump, 400 F. Supp. 3d

317, 341 (D. Md. 2019) quoting Malibu Media, LLC v. Doe, No. PWG-13-365, 2014 WL 7188822,

at *4 (D. Md. Dec. 16, 2014) quoting Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir.

2010). The Plaintiff is a post-confirmation trust created by the Debtor’s plan, represented by the

same counsel as the Official Committee of Unsecured Creditors that preceded it. There has been

no barrier preventing the Plaintiff from obtaining the necessary facts to make well-pled allegations

against Tiffany Shade. The Plaintiff has access to the Debtor’s books and records, summary

material prepared before and during the bankruptcy, and copious documents and emails obtained

from the Defendants. Tiffany Shade is not withholding her job title or job responsibilities; the

Plaintiff has simply failed to investigate them. The Complaint’s allegations on information and




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belief must be disregarded. Without those allegations, there are no facts to rebut the presumption

that Tiffany Shade provided services equal in value to her salary.

         Pursuant to JKJ Chevrolet, each pay period the Employee Defendants “subsequently

advanced” additional services to the Debtor that were worth the amount of their compensation for

that pay period. With each pay period, the potential preference liability from the earlier transfer

was satisfied by the subsequent, allegedly-preferential transfer. The end result of this analysis is

that, at most, the Plaintiff could recover the last prepetition Transfer as a preference.

         In fact, Greg Greenberg’s salary history shows that he continued to provide services, but

did not receive compensation between June 17, 2022 and October 21, 2022. Ex. A at 33. This

spans eight (8) bi-weekly pay periods where Greg Greenberg provided subsequent new value that

reduces any preference liability for earlier transfers.       At the usual salary, this represents

$259,938.48 in subsequent new value.

         Payments to the Employee Defendants were made bi-weekly on account of work done two

weeks before. In the two pay periods leading up to the Petition Date, Greg Greenberg did not

receive payment for his services at all. Ex. A at 8. Similarly, Amanda Greenberg and Tiffany

Shade did not receive payment for their last period worked. Ex. A at 8-9. The subsequent new

value provided by these unpaid final pay periods eliminates any remaining preference liability.

Per the facts alleged in the Complaint and the salary history in the SOFA, this claim must be

dismissed as against the Employee Defendants.

         G.     The Plaintiff Cannot Avoid the Transfers Because They Were Made for
                Reasonably Equivalent Value

         To avoid salary payments as constructively fraudulent transfers, the Plaintiff must show

that they were paid without receiving reasonably equivalent value in exchange, or without fair




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consideration. 11 U.S.C. § 548(a)(1)(B)(i) (reasonably equivalent value); Md. Code §§ 15-204,

205, 206 (fair consideration). These concepts involve the same basic analysis.

         The Plaintiff must affirmatively show a lack of fair consideration or reasonably equivalent

value. Field v. United States (In re Abatement Envtl. Res., Inc.), 102 F. App’x 272, 277 (4th Cir.

2004) (plaintiff must demonstrate lack of fair consideration); Hovis v. Ducate (In re Ducate), 369

B.R. 251, 262 (Bankr. D.S.C. 2007) (Plaintiff’s burden to show lack of reasonably equivalent

value, and “This burden of proof never shifts.”).

         The date for defining reasonable equivalence of value is the date of the transfer. In re

Persinger, 545 B.R. 896, 903 (Bankr. E.D.N.C. 2016). While there is no precise formula for

determining reasonable equivalence, an important element of this consideration is fair market

value. In re Roti, 271 B.R. 281, 295 (Bankr. N.D. Ill. 2002).

         “Services provided in return for salary payments are presumed to constitute ‘fair

consideration’ and ‘reasonably equivalent value’” unless clearly excessive given the employee’s

responsibilities. Graham v. Serafis (In re Vill. Red Rest. Corp.), 2021 Bankr. LEXIS 2377, at *22

(Bankr. S.D.N.Y. Aug. 31, 2021).

         As one court elaborated,

         Generally, payments of salary are presumed to have been made for fair
         consideration. In re TC Liquidations LLC, 463 B.R. at 268. This rebuttable
         presumption makes for ‘tough sledding’ by bankruptcy trustees inclined to attack
         employee compensation as fraudulent transfers. For a trustee to succeed, he must
         either establish that 1) the compensation payments were made in bad faith (i.e.,
         were actual fraudulent conveyances under 548(a)(1)(A)) or else 2) the
         compensation was excessive in light of the Defendants’ employment
         responsibilities (i.e., a constructive fraudulent conveyance under 548(a)(1)(B)).
         Id.; see also In re S. Textile Knitters, 65 F. App’x. 426, 437 (4th Cir.2003); Cilco
         Cement Corp. v. White, 55 A.D.2d 668, 668, 390 N.Y.S.2d 178 (2d Dep’t 1976)
         (salary paid to the president of the company was not a fraudulent conveyance
         because there was “no evidence that his salary was either excessive or
         unreasonable, or that the corporation did not receive full value in return.”); Mills v.
         Everest Reinsurance Co., 410 F.Supp.2d 243, 254 (S.D.N.Y. 2006).


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In re Ballantyne Brands, LLC, 656 B.R. 117, 139–40 (Bankr. W.D.N.C. 2023).

         An S corporation’s payment of tax liabilities passed through to owners is reasonably

equivalent value if the company is obligated to provide for tax disbursements. Crumpton v.

Stephens (In re Northlake Foods, Inc.), 715 F.3d 1251, 1256 (11th Cir. 2013) (transferee was

entitled to judgment on the pleading for constructive fraudulent transfer claim because agreement

by debtor to pay passed-through tax liability in exchange for S corporation status “provides [the

debtor] with valuable benefits by virtue of its S-corporation election”); Gold v. United States (In

re Kenrob Info. Tech. Sols.), 474 B.R. 799, 803 (Bankr. E.D. Va. 2012) (unwritten “agreement

between the shareholders and the corporation [to elect S corporation tax status] was valuable

consideration to the corporation where the tax payments on behalf of the shareholders represented

no more than the pass-through tax liability”).

         As discussed above, the Direct Tax Payments were payments to taxing authorities made by

the Debtor on account of passed-through tax liability. If the Debtor had not been a pass-through

tax entity and had not made the Direct Tax Payments on behalf of the applicable Defendants, the

Debtor would have been obligated to make those tax payments at the entity level anyway.

Although the Direct Tax Payments are not avoidable for reasons discussed above, they also

provided reasonably equivalent value and fair consideration to the Debtor.

         As for other compensation payments to Greg Greenberg, the Complaint does not identify

which payments it seeks to avoid or how much it seeks to recover. It generally alleges that some

of the Transfers were made on account of inflated salary. As discussed above, this is insufficient

to state a claim.

         It is also insufficient to rebut the presumption that Greg Greenberg’s compensation was

reasonably equivalent or fair consideration for his services. The Complaint pleads that Greg


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Greenberg “ran the Debtor’s day-to-day business” during the entire relevant period. Compl. ¶ 20.

The Complaint does not plead anything about his job responsibilities, or any other facts

substantiating the alleged inflation of his compensation. The Complaint does not plead anything

about the size or complexity of the Debtor’s business, how similarly-situated officers at other

companies were compensated or how Greg Greenberg’s compensation was determined. The

Complaint pleads that his compensation exceeded that of his predecessor, but omits any mention

of when Greg Greenberg took over from his predecessor. 2 The Complaint does not rebut the

presumption that compensation is reasonably equivalent and given for fair consideration. Counts

II and III must be dismissed as to Greg Greenberg.

         H.      The Complaint Does Not Plead the Existence of, or any Facts Supporting,
                 Alleged Breach of Fiduciary Duties

         Under Maryland law, “there is no universal or omnibus tort for the redress of breach of

fiduciary duty by any and all fiduciaries.” Kann v. Kann, 344 Md. 689, 713, 690 A.2d 509, 521

(1997). To state a claim for fiduciary breach, the Plaintiff must show “(i) the existence of a

fiduciary relationship; (ii) breach of the duty owed by the fiduciary to the beneficiary; and

(iii) harm to the beneficiary.” Plank v. Cherneski, 469 Md. 548, 599, 231 A.3d 436, 466 (2020)

quoting Froelich v. Erickson, 96 F. Supp. 2d 507, 526 (D. Md. 2000), aff'd sub nom. Froelich v.

Senior Campus Living, LLC, 5 F. App’x 287 (4th Cir. 2001).

         The Complaint does not identify the fiduciary duties allegedly breached. It formulaically

pleads that Greg and Theodore Greenberg breached “fiduciary duties of care and loyalty.” Compl.

¶ 67. A breach of the duty of loyalty arises under Maryland law when a corporate officer prefers

himself to the corporation, generally by appropriating a business opportunity. Lyon v. Campbell,

707 A.2d 850, 864 (Md. Ct. Spec. App. 1998). Likewise, a breach of the duty of care arises from


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         Greg Greenberg assumed his current role in 2013.

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an allegation that the fiduciary made an unjustifiable decision to the detriment of the corporation.

Werbowsky v. Collomb, 766 A.2d 123, 133 (Md. 2001) (“[D]irectors are required to perform their

duties in good faith, in a manner they reasonably believe to be in the best interest of the corporation,

and with the care that an ordinarily prudent person in a like position would use under similar

circumstances.”). Corporate decision making is protected by the business judgment rule, and a

court will impose liability for a “decision only if the challenger produces evidence establishing

that the directors acted in bad faith.” Froelich v. Erickson, 96 F. Supp. 2d 507, 520 (D. Md. 2000)

aff'd sub nom. Froelich v. Senior Campus Living, LLC, 5 F. App’x 287 (4th Cir. 2001) citing Nat’l

Ass’n for the Advancement of Colored People v. Golding, 342 Md. 663, 679 A.2d 554 (Md. 1996).

         The Complaint identifies only one decision as an alleged fiduciary breach: “Greg

Greenberg and Theodore Greenberg breached these duties by approving salaries for Greg

Greenberg, Amanda Greenberg, and Tiffany Shade that were grossly disproportionate to the value

each employee provided to the Debtor.” Compl. ¶ 68.

         It is not clear how Theodore Greenberg could have breached his duty of loyalty for this

decision, since he did not advantage himself in any way by approving salaries for other people.

         As discussed above, the Complaint has failed to undercut the presumption that

compensation to the Employee Defendants is proper. However, even if that presumption is

rebutted, the Complaint does not plead facts showing bad faith by Greg or Theodore Greenberg.

In fact, the Complaint pleads nothing at all about their mental state or the process by which they

allegedly approved the challenged compensation. These allegations are insufficient to overcome

the business judgment rule. The Complaint does not state a claim for fiduciary breach and must

be dismissed.




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         I.     The Complaint Does Not Meet the Heightened Pleading Standard Pursuant to
                Rule 9(b)

         Counts VI alleges intentional fraud. This claim is subject to the heightened pleading

standard of Fed. R. Civ. P. 9(b) (applicable pursuant to Fed. R. Bankr. P. 7009), which provides

that “In alleging fraud or mistake, a party must state with particularity the circumstances

constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a person’s mind

may be alleged generally.”

         To plead fraud, a complaint must specifically “include the ‘time, place and contents of the

false representation, as well as the identity of the person making the misrepresentation and what

[was] obtained thereby.’” Superior Bank, F.S.B. v. Tandem Nat'l Mortg., Inc., 197 F.Supp.2d 298,

313–14 (D. Md. 2000) quoting Windsor Assocs., Inc. v. Greenfeld, 564 F.Supp. 273, 280 (D. Md.

1983); see also Shulman v. Progressive Com. Cas. Co., No. CV DKC 19-1709, 2020 WL 758239,

at *4 (D. Md. Feb. 14, 2020). In Shulman, a fraud claim was dismissed when the complaint did

not describe what the defendants gained from the alleged fraud, when the fraud occurred or who

the fraudulent statements were given to.

         The Complaint alleges that the Debtor’s former president “knowingly and intentionally

misrepresented that payments made using his company credit card were for work related expenses.

Instead, many or all the expenses were personal in nature.” Compl. ¶ 71. This is the extent of the

factual allegations supporting the alleged fraud. The Complaint does not allege who these false

representations were made to, when those representations were made, what those representations

contained or how much he allegedly obtained by making these representations. The Complaint

instead notes the total amount of spending on the company card and avers that some portion of

that total, incurred at some point for unidentified purchases, was for personal expenses. Compl. ¶

45 (Former president “spent $671,095.54 on the company credit card, largely for personal


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expenses…”). This cursory and conclusory allegation is totally insufficient to meet the heightened

pleading standard of Fed. R. Civ. P. 9(b), and Count VI must be dismissed.

                                         CONCLUSION

         The Complaint does not sufficiently plead specific facts, and must be dismissed entirely

pursuant to Fed. R. Civ. P. 8. In the alternative, the Complaint does not plead the Debtor’s

insolvency or financial distress, so Counts I through IV seeking avoidance and recovery must be

dismissed. The Complaint does not identify how any Defendant breached a fiduciary duty, so

Count V must be dismissed. The Complaint does not meet the heightened pleading requirements

of Fed. R. Civ. P. 9, so Count VI for intentional fraud must be dismissed.




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                                                                                                       EXHIBIT A
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Baltimore Division)

    In re:                                                     Chapter 11
                  1
    ESCO, Ltd.,                                                Case No. 23-12237 (DER)
                        Debtor.


        GLOBAL NOTES, STATEMENT OF LIMITATIONS, AND DISCLAIMERS
     REGARDING THE DEBTOR’S SCHEDULES OF ASSETS AND LIABILITIES AND
                   STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtor and debtor-in-possession (the “Debtor”) in the above-
captioned chapter 11 case, with the assistance of its advisors, has filed its Schedules of Assets and
Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements” and together
with the Schedules, the “Schedules and Statements”) with the United States Bankruptcy Court
for the District of Maryland (the “Bankruptcy Court”) pursuant to section 521 of title 11 of the
United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”).

       These Global Notes, Statement of Limitations, and Disclaimers Regarding the Debtor’s
Schedules of Assets and Liabilities and Statements of Financial Affairs (collectively, the “Global
Notes”) pertain to, are incorporated by reference in, and comprise an integral part of, the Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

       The Schedules and Statements do not purport to represent financial statements prepared in
accordance with Generally Accepted Accounting Principles in the United States (“GAAP”), nor
are they intended to be fully reconciled with the financial statements of the Debtor (whether
publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment and reflect the Debtor’s
reasonable efforts to report the assets and liabilities of the Debtor.

        In preparing the Schedules and Statements, the Debtor relied upon information derived
from its books and records that was available at the time of such preparation. Although the Debtor
has made reasonable efforts to ensure the accuracy and completeness of such financial information,
inadvertent errors or omissions, as well as the discovery of conflicting, revised, or subsequent
information, may cause a material change to the Schedules and Statements.

       The Debtor and its officers, employees, agents, attorneys, and advisors do not guarantee or
warrant the accuracy or completeness of the data that is provided in the Schedules and Statements
and shall not be liable for any loss or injury arising out of or caused in whole or in part by any act

1
 The Debtor in this Chapter 11 case and the last four digits of its federal tax identification are ESCO, Ltd., DBA Shoe
City (5654). The Debtor’s principal address is 1800 Woodlawn Drive, Gwynn Oak, Maryland 21207-4007.


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or omission, whether negligent or otherwise, in procuring, compiling, collecting, interpreting,
reporting, communicating, or delivering the information contained in the Schedules and
Statements. Except as expressly required by the Bankruptcy Code, the Debtor and its officers,
employees, agents, attorneys, and advisors expressly do not undertake any obligation to update,
modify, revise or re-categorize the information provided in the Schedules and Statements or to
notify any third party should the information be updated, modified, revised, or re-categorized.

        Stanley W. Mastil, Chief Restructuring Officer of the Debtor, has signed the Schedules and
Statements. Mr. Mastil is an authorized signatory for the Debtor. In reviewing and signing the
Schedules and Statements, Mr. Mastil has relied upon the efforts, statements, and representations
of various personnel employed by the Debtor and its advisors. Mr. Mastil has not (and could not
have) personally verified the accuracy of each such statement and representation, including, for
example, statements and representations concerning amounts owed to creditors and their
addresses. Neither the Schedules and Statements, nor the Global Notes, should be relied upon by
any persons for information relating to current or future financial conditions, events, or
performance of the Debtor.

                            Global Notes Overview and Methodology

        1.      Reservation of Rights. Reasonable efforts have been made to prepare and file
complete and accurate Schedules and Statements; however, inadvertent errors or omissions may
exist. The Debtor reserves all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate to (including, without limitation):
(a) amend the Schedules and Statements with respect to the description or designation of any
“claim” asserted against the Debtor (as defined in section 105(a) of the Bankruptcy Code, a
“Claim”); (b) dispute or otherwise assert offsets or defenses to any Claim reflected in the
Schedules and Statements as to amount, liability, priority, status, or classification; (c) subsequently
designate any Claim as “disputed,” “contingent,” or “unliquidated;” and/or (d) object to the extent,
validity, enforceability, priority, or avoidability of any Claim). Any failure to designate a Claim in
the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
an admission by the Debtor that such Claim or amount is not “disputed,” “contingent,” or
“unliquidated.” Listing a Claim does not constitute an admission of liability by the Debtor against
which the Claim is listed or against the Debtor. Furthermore, nothing contained in the Schedules
and Statements shall constitute a waiver of rights with respect to the Debtor’s chapter 11 case,
including, without limitation, issues involving Claims, substantive consolidation, defenses,
equitable subordination, recharacterization, and/or causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to recover assets or
avoid transfers. Any specific reservation of rights contained elsewhere in the Global Notes does
not limit in any respect the general reservation of rights contained in this paragraph.
Notwithstanding the foregoing, the Debtor shall not be required to update the Schedules and
Statements except as may be required by applicable law.

        2.     Description of Case and “as of” Information Date. On March 31, 2023 (the
“Petition Date”), the Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy
Code with the Bankruptcy Court. The Debtor is operating its business and managing its properties
as debtor-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108. On April 13,
2023, the Office of the United States Trustee for the District of Maryland (Baltimore Division)

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appointed an Official Committee of Unsecured Creditors (the “Committee”), pursuant to
Bankruptcy Code section 1102.

         The asset and liability information provided herein represents the asset and liability data of
the Debtor as of the Petition Date, except as otherwise noted. In some instances, the Debtor has
used estimates or prorated amounts where actual data as of the Petition Date was not available.
The Debtor has made a reasonable effort to allocate liabilities between the pre- and postpetition
periods based on the information available to the Debtor and research that was conducted in
connection with the preparation of the Schedules and Statements. As additional information
becomes available and further research is conducted, the Debtor may modify the allocation of
liabilities between the pre- and postpetition periods and amend the Schedules and Statements
accordingly.

        3.      Net Book Value of Assets. It would be prohibitively expensive, unduly
burdensome, and an inefficient use of estate assets for the Debtor to obtain current market
valuations for each of its property interests. When necessary, the Debtor has indicated that the
value of certain assets is “unknown” or “undetermined.” Accordingly, unless otherwise indicated,
the Schedules and Statements reflect the net book value of the Debtor’s assets as of the Petition
Date. Furthermore, as applicable, assets that have fully depreciated or were expensed for
accounting purposes may not be reflected in the Schedules and Statements as they have no net
book value or have been scheduled as having zero net book value. The Debtor reserves its right to
amend or adjust the value of each asset or liability set forth in the Schedules and Statements.

        Book values of assets generally do not reflect the current performance of the assets or
current market conditions and may differ materially from the actual value and/or performance of
the underlying assets. Given the potential for volatility of market value for certain of the assets
held by the Debtor, and depreciation, this difference is material. As such, the values listed in these
Schedules and Statements cannot be, and were not, used to determine the Debtor’s enterprise value.

       4.      Inventory. Inventory is reflected as net book value. The Debtor conducts a
physical inventory from time to time as part of its normal policies and procedures. Prior physical
inventory variances have been immaterial.

        5.     Recharacterization. Notwithstanding the Debtor’s reasonable efforts to properly
characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
unexpired leases, postemployment benefits, and other items reported in the Schedules and
Statements, the Debtor may, nevertheless, have improperly characterized, classified, categorized,
designated, or omitted certain items. Accordingly, the Debtor reserves all of its rights to
recharacterize, reclassify, re-categorize, re-designate, add, or delete items reported in the
Schedules and Statements at a later time as is necessary or appropriate as additional information
becomes available, including, without limitation, whether contracts or leases listed herein were
deemed executory or unexpired as of the Petition Date and remain executory and unexpired
postpetition. Disclosure of information in one or more Schedules, one or more Statement
questions, or one or more exhibits or attachments to the Schedules and Statements, even if
incorrectly placed, shall be deemed to be disclosed in the correct Schedules, Statements, exhibits,
or attachments.



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        6.     Liabilities. The Debtor has sought to allocate assets and liabilities between the
prepetition and postpetition periods based on the information and research conducted in connection
with the preparation of the Schedules and Statements. As additional information becomes available
and further research is conducted, the allocation of liabilities between the prepetition and
postpetition periods may change. Accordingly, the Debtor reserves all rights to amend,
supplement, or otherwise modify its Schedules and Statements as is necessary or appropriate.

        The Bankruptcy Court previously entered various orders the Debtor requested in certain
motions filed along with its chapter 11 petitions (collectively, and together with any supplements,
amendments, or further orders entered in response thereto, the “First Day Orders”) authorizing,
but not directing, the Debtor to, among other things, pay certain prepetition (i) service fees and
charges assessed by the Debtor’s banks and payment processors; (ii) employee wages, salaries,
and other employee-related obligations; (iii) amounts owing to providers of utilities; (iv) insurance
obligations; and (v) taxes and fees. As discussed below, prepetition liabilities which have been
paid postpetition or those which the Debtor plans to pay via the authorization granted by the First
Day Orders might not be listed in the Schedules and Statements. Regardless of whether such
Claims are listed in the Schedules and Statements, to the extent that such Claims are paid pursuant
to an order of the Bankruptcy Court (including the First Day Orders), the Debtor reserves the right
to amend or supplement the Schedules and Statements as necessary and appropriate.

       The liabilities listed on the Schedules do not reflect any analysis of Claims under
Bankruptcy Code section 503(b)(9). Accordingly, the Debtor reserves all of its rights to dispute or
challenge the validity of any asserted Claims under Bankruptcy Code section 503(b)(9) or the
characterization of the structure of any such transaction or any document or instrument related to
any creditor’s Claim.

        7.      Excluded Assets and Liabilities. In certain instances, the Debtor has excluded
certain categories of assets and liabilities from the Schedules and Statements. The Bankruptcy
Court has authorized (but not directed) the Debtor to pay, in its discretion in the ordinary course
of business, certain prepetition Claims on a postpetition basis. The Debtor has used its best efforts
to remove such Claims from the Schedules.

        As discussed above, the liabilities listed on the Schedules do not reflect any analysis of
Claims under Bankruptcy Code section 503(b)(9). Accordingly, the Debtor reserves all of its
rights to dispute or challenge the validity of any asserted Claims under Bankruptcy Code section
503(b)(9).

         8.     Insiders. For the purposes of the Schedules and Statements, the Debtor defined
“insider” pursuant to Bankruptcy Code section 101(31) as: (a) directors; (b) officers; (c) persons
in control of the Debtor; (d) relatives of the Debtor’s directors, officers, or persons in control of
the Debtor; and (e) debtor/non-debtor affiliates of the foregoing. The parties identified as
“insiders” have been included for informational purposes only and the inclusion of them in the
Schedules and Statements shall not constitute an admission that those persons are insiders for
purposes of Bankruptcy Code section 101(31). The Debtor does not take any position with respect
to: (a) such person’s influence over the control of the Debtor; (b) the management responsibilities
or functions of such individual; (c) the decision-making or corporate authority of such individual;
or (d) whether such individual could successfully argue that he or she is not an “insider” under

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applicable law, including, without limitation, the federal securities laws or with respect to any
theories of liability or for any other purpose.

        9.      Intellectual Property Rights. Exclusion of certain intellectual property shall not
be construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall not be
construed to be an admission that such intellectual property rights have not been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
acquisition, or other transaction. Accordingly, the Debtor reserves all of its rights with respect to
the legal status of any and all such intellectual property rights.

        10.    Executory Contracts and Unexpired Leases. Although the Debtor has made
diligent attempts to identify contracts and unexpired leases within the scope of Bankruptcy Code
section 365, in certain instances, the Debtor may have inadvertently failed to do so. Accordingly,
the Debtor reserves all of its rights with respect to the inclusion or exclusion of executory contracts
and unexpired leases, including the right to amend Schedule G at any time during the pendency of
this chapter 11 case.

        11.     Classifications. Listing a Claim, contract or lease on (a) Schedule E/F, Part 1 as
“priority unsecured,” (b) Schedule E/F, Part 2 as “Non-priority unsecured,” or (c) Schedule G as
“executory” or “unexpired,” does not constitute an admission by the Debtor of the legal rights of
the claimant, or a waiver of the Debtor’s rights to recharacterize or reclassify such Claims or
contracts or leases or to setoff against such Claims.

         12.    Claims Description. Schedules D and E/F permit the Debtor to designate a Claim
as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on the
Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
admission by the Debtor that such amount is not “disputed,” “contingent,” or “unliquidated,” or
that such Claim is not subject to objection. The Debtor reserves all of its rights to dispute, or assert
offsets or defenses to, any Claim reflected on its Schedules and Statements on any grounds,
including liability or classification. Additionally, the Debtor expressly reserves all of its rights to
subsequently designate such Claims as “disputed,” “contingent” or “unliquidated.” Moreover,
listing a Claim does not constitute an admission of liability by the Debtor.

        13.     Causes of Action. Despite its reasonable efforts to identify all known assets, the
Debtor may not have listed all of its causes of action or potential causes of action against third
parties (collectively, “Causes of Action”) as assets in the Schedules and Statements, including,
without limitation, causes of action arising under the provisions of chapter 5 of the Bankruptcy
Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtor
reserves all of its rights with respect to any: (a) cause of action (including avoidance actions), (b)
controversy, (c) right of setoff, (d) cross-claim, (e) counterclaim, (d) recoupment, and (e) any
Claim on contracts or for breaches of duties imposed by law or in equity, demand, right, action,
lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
privilege, license, and franchise of any kind or character whatsoever, known, unknown, fixed or
contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on,

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or after the Petition Date, in contract or in tort, in law, or in equity, or pursuant to any other theory
of law they may have, and neither these Global Notes nor the Schedules and Statements shall be
deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the assertion
of such Claims or Causes of Action.

        14.     Summary of Significant Reporting Policies. The following is a summary of
significant reporting policies:

                a.      Undetermined Amounts. The description of an amount as “unknown,”
                        “TBD,” “undetermined,” or similar indication is not intended to reflect upon
                        the materiality of such amount.

                b.      Totals. All totals that are included in the Schedules and Statements represent
                        totals of all known amounts. To the extent there are unknown or
                        undetermined amounts, the actual total may be different than the listed total.

                c.      Liens. The value of assets listed in the Schedules and Statements are
                        presented without consideration of any liens that may attach (or have
                        attached) to such property and equipment.

        15.    Estimates. To prepare and file the Schedules in accordance with the deadline
established in the chapter 11 case, management was required to make certain estimates and
assumptions that affected the reported amounts of these assets and liabilities. The Debtor reserves
all rights to amend the reported amounts of assets and liabilities to reflect changes in those
estimates or assumptions.

         16.    Currency. All amounts are reflected in U.S. dollars unless otherwise indicated.

        17.    Setoffs. The Debtor periodically incurs certain setoffs in the ordinary course of
business. Setoffs in the ordinary course can result from various items including, but not limited to
pricing discrepancies, returns, refunds, inadvertent payments, negotiations and/or disputes
between the Debtor and its customers, suppliers, and third party insurers. These normal setoffs are
consistent with the ordinary course of business in the Debtor’s industry and can be particularly
voluminous, making it unduly burdensome and costly for the Debtor to list such ordinary course
setoffs. Therefore, although such setoffs and other similar rights may have been accounted for
when scheduling certain amounts, these ordinary course setoffs are not independently accounted
for, and as such, are or may be excluded from the Debtor’s Schedules and Statements.

        18.     Confidential or Sensitive Information. There may be instances in which certain
information in the Schedules and Statements intentionally has been omitted or redacted due to the
nature of an agreement between the Debtor and a third party, concerns about the confidential nature
of certain information, or otherwise. Additionally, Employee addresses have been listed as the
address of the Debtor’s corporate office.

        19.    Global Notes Control. In the event that the Schedules or Statements differ from
any of the foregoing Global Notes, the Global Notes shall control.



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                        Specific Disclosures with respect to the Schedules

         Schedules A/B.

                Part 1, Cash and Cash Equivalents. Cash is listed on Schedule A/B as of the Petition
                Date. The Debtor’s cash management system is set forth more fully in the Debtor’s
                Motion for Entry of an Order (I) Approving Continued Use of Cash Management
                System; (II) Authorizing the Debtor to Open and Close Bank Accounts; and (III)
                Authorizing Banks to Honor Certain Payments [Docket No. 16].

                Part 10, Intangibles and Intellectual Property.

                Patents, Trademarks and/or other Intellectual Property are listed as an
                undetermined amount on account of the fact that the fair market value of such
                ownership is dependent on numerous variables and factors and may differ
                significantly from their net book value.

                Customer Lists are listed as an undetermined amount on account of the fact that the
                fair market value of such ownership is dependent on numerous variables and factors
                and may differ significantly from their net book value.

                Intangible Assets and Goodwill are listed as an undetermined amount on account
                of the fact that the fair market value of such intangible items such as Goodwill and
                Trade Names is dependent on numerous variables and factors and may differ
                significantly from their net book value.

         Schedules E/F. The claims of individual creditors for, among other things, goods,
         products, services, or taxes are listed as the amounts entered on the Debtor’s books and
         records and may not reflect credits, allowances, or other adjustments due from such
         creditors to the Debtor. The Debtor reserves all of its rights with regard to such credits,
         allowances, and other adjustments, including the right to assert claims objections and/or
         setoffs with respect to the same.

         The Bankruptcy Court has authorized the Debtor to pay, in its discretion, certain unsecured
         Claims pursuant to the First Day Orders, and the Debtor has paid certain wage-related
         claims for its employees pursuant to such First Day Orders. To the extent practicable, the
         Debtor’s Schedule E/F is intended to reflect the balance as of the Petition Date. The Debtor
         may pay additional Claims listed on Schedule E/F during the chapter 11 case pursuant to
         the First Day Orders and other orders of the Bankruptcy Court. The Debtor reserves its
         rights to update Schedule E/F to reflect such payments and to modify the claims register to
         account for the satisfaction of such Claims.

         The Debtor has used reasonable efforts to report all general unsecured Claims against the
         Debtor on Schedule E/F based upon the Debtor’s books and records as of the Petition Date.
         Claims listed on Schedule E/F may have been aggregated by creditor name and remittance
         address and may include several dates of incurrence for the aggregate balance listed.



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         The Debtor has made reasonable efforts to include all unsecured creditors on Schedule E/F
         including, but not limited to, trade creditors, consultants, and other service providers;
         however, the Debtor believes that there may be instances where creditors have yet to
         provide proper invoices for prepetition goods or services. While the Debtor maintains
         general accruals to account for these liabilities in accordance with GAAP, these amounts
         are estimates and are not attributed to specific vendors. Accordingly, such accruals have
         not been included on Schedule E/F.

         Schedule E/F also contains information regarding pending litigation involving the Debtor.
         The amounts for these potential Claims are listed as undetermined and marked as
         contingent, unliquidated, and disputed in the Schedules.

         Schedule E/F reflects the prepetition amounts owing to counterparties to executory
         contracts and unexpired leases. Such prepetition amounts, however, may be paid in
         connection with the assumption, or assumption and assignment, of executory contracts or
         unexpired leases. Additionally, Schedule E/F does not include potential rejection damage
         Claims, if any, of the counterparties to executory contracts and unexpired leases that have
         been or may be rejected, nor does it reflect applicable statutory caps or defenses to such
         potential rejection damage Claims.

         Schedule E/F does not include certain deferred charges, deferred liabilities, accruals, or
         general reserves. Such amounts are, however, reflected on the Debtor’s books and records
         as required in accordance with GAAP. Such accruals are general estimates of liabilities
         and do not represent specific Claims as of the Petition Date.

         Schedule G. Although commercially reasonable efforts have been made to ensure the
         accuracy of Schedule G regarding executory contracts and unexpired leases, the Debtor’s
         review is ongoing at the time of the filing of the Schedules and Statements and inadvertent
         errors, omissions or over-inclusion may have occurred in preparing Schedule G.

         Listing a contract or agreement on Schedule G does not constitute an admission that such
         contract or agreement is an executory contract or unexpired lease or that such contract or
         agreement was in effect on the Petition Date or is valid or enforceable. The Debtor hereby
         reserves its rights to dispute the validity, status, or enforceability of any contracts,
         agreements, or leases set forth in Schedule G and to amend or supplement such Schedule
         as necessary. Certain of the leases and contracts listed on Schedule G may contain renewal
         options, guarantees of payment, indemnifications, options to purchase, rights of first refusal
         and other miscellaneous rights. Such rights, powers, duties, and obligations are not set forth
         separately on Schedule G.

         Certain of the contracts and leases listed on Schedule G may consist of several parts,
         including, purchase orders, amendments, restatements, waivers, letters, and other
         documents that may not be listed on Schedule G or that may be listed as a single entry. The
         Debtor expressly reserves its rights to challenge whether such related materials constitute
         an executory contract, a single contract or agreement, or multiple, severable or separate
         contracts or agreements.



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         Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.
         The Debtor reserves all rights with respect to such agreements.

         The contracts and leases listed on Schedule G may have expired or may have been
         modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
         instruments, and agreements that may not be listed therein despite the Debtor’s use of
         reasonable efforts to identify such documents. Further, unless otherwise specified on
         Schedule G, each executory contract or unexpired lease listed thereon shall include all
         exhibits, schedules, riders, modifications, declarations, amendments, supplements,
         attachments, restatements, or other agreements made directly or indirectly by any
         agreement, instrument, or other document that in any manner affects such executory
         contract or unexpired lease, without respect to whether such agreement, instrument, or
         other document is listed thereon. In some cases, the same supplier or provider may appear
         multiple times on Schedule G. This multiple listing is intended to reflect distinct
         agreements between the Debtor and such supplier or provider.

         The Debtor reserves all rights, claims, and causes of action with respect to the agreements
         on Schedule G, including the right to dispute or challenge the characterization of the
         structure of any transactions or any document or instrument related to a creditor’s Claims.




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  Fill in this information to identify the case:

  Debtor name: ESCO, Ltd.

  United States Bankruptcy Court for the: Maryland
                                                                                                                                                    Check if this is an
  Case number: 23-12237
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date               Operating a business                                         $35,616,117.36
the fiscal year to filing       7/31/2022
date:                                                                                      Other




For prior year:                 From                      to                               Operating a business                                         $55,339,149.00
                                8/1/2021                  7/30/2022
                                                                                           Other




For the year before that:       From                      to                               Operating a business                                         $63,900,292.00
                                7/26/2020                 7/31/2021
                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date           Other Income                                                           $7,231.95
the fiscal year to filing      7/31/2022
date:

For prior year:                From                       to                           Other Income                                                         $344,729.00
                               8/1/2021                   7/30/2022


For the year before that:      From                       to                           Other Income                                                          $50,710.00
                               7/26/2020                  7/31/2021
Debtor    ESCO, Ltd._______________________________________________________________                   Case number (if known) 23-12237________________________________________
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  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                            Total amount or value       Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                                                 Secured debt
            See SOFA 3 Attachment
                                                                                                                                 Unsecured loan repayments

                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                            Total amount or value       Reasons for payment or transfer

  4.1
                                                                                                                                 Secured debt
            See SOFA 4 Attachment
                                                                                                                                 Unsecured loan repayments
            Relationship to debtor
                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other



  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                  Date                            Value of property

  5.1



  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                      Date action was taken           Amount

  6.1


                                                               Last 4 digits of account number
Debtor    ESCO, Ltd._______________________________________________________________                    Case number (if known) 23-12237________________________________________
          Name
                                             Case
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  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                     Nature of case                               Court or agency’s name and address                           Status of case

  7.1
            Name                                                                              Name                                                              Pending
                                                                                                                                                                On appeal
            Case number                                                                       Street                                                            Concluded

                                                                                              City                                  State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                  Value

  8.1
            Custodian's name and address

                                                               Case title                                                    Court name and address
            Street                                                                                                           Name

                                                               Case number
            City                        State    Zip                                                                         Street

                                                               Date of order or assignment
                                                                                                                             City                               State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                    Value

  9.1
            Recipient's name                                   Cash Donation                                                7/5/2022, 7/19/2022                           $2,100.00
            1 Team, LLC
            Street
            4814 Lindsay Road

            City                        State    Zip
            Baltimore                   MD       21229
            Recipient’s relationship to debtor
            None
Debtor   ESCO, Ltd._______________________________________________________________         Case number (if known) 23-12237________________________________________
         Name
                                            Case
                                            Case23-12237
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  9.2
           Recipient's name                             Cash Donation                                           4/1/2022                                $3,000.00
           Pikesville High School

           Street
           7621 Labyrinth Rd.

           City                        State    Zip
           Pikesville                  MD       21208

           Recipient’s relationship to debtor
           None

  9.4
           Recipient's name                             137 cases of footwear and apparel, 91 cases of          3/11/2022, 11/22/2022                  $85,284.70
           National Odd Shoes                           footwear and apparel
           Street
           162 W. Boxelder St., Suite 4

           City                        State    Zip
           Chandler                    AZ       85225
           Recipient’s relationship to debtor
           None

  9.4
           Recipient's name                             Cash Donation                                           12/20/2021                              $3,000.00
           Owings Mills Volunteer Fire

           Street
           10401 Owings Mills Blvd.
           City                        State    Zip
           Owings Mills                MD       21117

           Recipient’s relationship to debtor
           None


  9.5
           Recipient's name                             Cash Donation                                           11/5/2021                               $1,000.00
           Childrens Mission Inc

           Street
           7236 Early Golden Lane

           City                        State    Zip
           Baltimore                   MD       21208
           Recipient’s relationship to debtor
           None

  9.6
           Recipient's name                             Cash Donation                                           9/13/2021                               $3,000.00
           Go Fund Me - Help us Burry
           Street


           City                        State    Zip


           Recipient’s relationship to debtor
           None
Debtor    ESCO, Ltd._______________________________________________________________                    Case number (if known) 23-12237________________________________________
          Name
                                             Case
                                             Case23-12237
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  9.7
            Recipient's name                                   Cash Donation                                                4/25/2021                               $1,000.00
            The Jemicy School Inc

            Street
            11 Celadon Rd.

            City                        State      Zip
            Owings Mills                MD         21117

            Recipient’s relationship to debtor
            None

  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                     Date of loss                Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).

  10.1
  Break in and theft of inventory                              $32,294.00                                                   8/27/2022                              $32,249.00

  10.2
  Damage to store premesis due to vehicle accident             $31,200.00                                                   8/6/2022                               $31,200.00

  10.3
  Vehicle accident                                             $4,777.00                                                    12/19/2022                              $4,777.00

  10.4
  Vehicle accident                                             $669.00                                                      12/14/2022                                $669.00

  10.5
  Vehicle accident (rental vehicle)                            $8.00                                                        6/2/2022                                     $8.00

  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred              Dates                       Total amount or value

  11.1
                                                               N/A                                                          2/13/2023, 2/14/2023,                 $126,100.00
            GAVIN/SOLMONESE LLC                                                                                             3/7/2023, 3/29/2023
            919 N. MARKET ST.
            SUITE 600
            WILMINGTON, DE 19801

            Email or website address
            gavinsolmonese.com

            Who made the payment, if not debtor?
            N/A
Debtor    ESCO, Ltd._______________________________________________________________                 Case number (if known) 23-12237________________________________________
          Name
                                           Case
                                           Case23-12237
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  11.2
                                                              N/A                                                          3/17/2023, 3/29/2023                     $250,000.00
            POLSINELLI PC
            222 DELAWARE AVE.
            SUITE 1101
            WILMINGTON, DE 19801

            Email or website address
            polsinelli.com

            Who made the payment, if not debtor?
            N/A

  11.3
                                                              N/A                                                          3/17/2023                                $400,000.00
            GORDON BROTHERS RETAIL PARTNERS, LLC
            800 BOYLSTON ST.
            27TH FLOOR
            BOSTON, MA 02199

            Email or website address
            gordonbrothers.com

            Who made the payment, if not debtor?
            N/A

  11.4
                                                              N/A                                                          3/29/2023                                 $25,000.00
            STRETTO, INC.
            410 EXCHANGE
            SUITE 100
            IRVINE, CA 92602

            Email or website address
            stretto.com

            Who made the payment, if not debtor?
            N/A

  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                     Describe any property transferred                            Dates transfers were          Total amount or value
                                                                                                                            made

  12.1


            Trustee
Debtor     ESCO, Ltd._______________________________________________________________                        Case number (if known) 23-12237________________________________________
           Name
                                               Case
                                               Case23-12237
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  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                           Description of property transferred or payments                    Date transfer was        Total amount or value
                                                                    received or debts paid in exchange                                 made

  13.1



             Relationship to debtor



  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
             Street                                                                                                  From                                  to


               City                                                 State             Zip



  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the             If debtor provides
                                                                                   debtor provides                                                              meals and housing,
                                                                                                                                                                number of patients in
                                                                                                                                                                debtor's care

  15.1
             Street

                                                                                   Location where patient records are maintained(if different from facility     How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                       Check all that apply:
                                                                                                                                                                    Electronically

                                                                                                                                                                    Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.     Names, Addresses, Email Addresses

                  Does the debtor have a privacy policy about that information?
                      No

                      Yes
Debtor     ESCO, Ltd._______________________________________________________________                   Case number (if known) 23-12237________________________________________
           Name
                                                 Case
                                                 Case23-12237
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  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                               Employer identification number of the plan
  Shoe City 401(K) Plan                                                                      XX-XXXXXXX
  Has the plan been terminated?
         No

         Yes

  Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                       Last 4        Type of account                Date account was              Last balance before
                                                                                digits of                                    closed, sold, moved, or       closing or transfer
                                                                                account                                      transferred
                                                                                number

  18.1
              Name                                                                               Checking

                                                                                                 Savings
              Street
                                                                                                 Money market
               City                                  State   Zip                                 Brokerage

                                                                                                  Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                         Names of anyone with access to it           Description of the contents                 Does debtor still have
                                                                                                                                                           it?

  19.1
              Name                                                                                                                                           No
                                                                   Address
                                                                                                                                                             Yes
              Street


               City                          State   Zip
Debtor    ESCO, Ltd._______________________________________________________________                                Case number (if known) 23-12237________________________________________
          Name
                                                 Case
                                                 Case23-12237
                                                      24-00120 Doc
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                                                                                                10935
  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                             Names of anyone with access to it                  Description of the contents                        Does debtor still have
                                                                                                                                                                               it?

  20.1
             Name                                                                                                                                                                 No
                                                                        Address
                                                                                                                                                                                  Yes
             Street


               City                        State      Zip



  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1
                                                                        1800 Woodlawn Drive                                Cosmetics                                          Undetermined
             GENDR, LLC                                                 Gwynn Oak MD 21207-4007
             1800 WOODLAWN DRIVE
             GWYNN OAK, MD 21207-4007


  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.


   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case


  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded
                                                        City                                   State      Zip
Debtor    ESCO, Ltd._______________________________________________________________                Case number (if known) 23-12237________________________________________
          Name
                                             Case
                                             Case23-12237
                                                  24-00120 Doc
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  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                        Governmental unit name and address                         Environmental law, if known                  Date of notice

  23.1
              Name                              Name


              Street                            Street


              City           State     Zip      City                             State     Zip



  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                        Governmental unit name and address                         Environmental law, if known                  Date of notice

  24.1
              Name                              Name


              Street                            Street


              City           State     Zip      City                             State     Zip



  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                  Describe the nature of the business                         Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                                                                                          EIN

                                                                                                                          Dates business existed
                                                                                                                          From                         to



  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                          From                         to
              MICHAEL WEBB- CFO                                                                                           01/14/2019                   Present
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007
Debtor    ESCO, Ltd._______________________________________________________________                 Case number (if known) 23-12237________________________________________
          Name
                                         Case
                                         Case23-12237
                                              24-00120 Doc
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  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                         Dates of service

  26b.1
                                                                                                                           From                          to
            GORFINE, SCHILLER & GARDYN, PA                                                                                 1/1/2010                      Present
            10045 RED RUN BLVD
            SUITE 250
            OWINGS MILLS, MD 21117


  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                         If any books of account and records are unavailable,
                                                                                                                            explain why

  26c.1



  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address


  26d.1

            ADIDAS AMERICA, INC.
            DEPT CH 19361
            PALATINE, IL 60055-9405


  26d.2

            CONSOLIDATED INSURANCE
            11403 CRONRIDGE DRIVE
            SUITE 270
            OWINGS MILLS, MD 21117-0664


  26d.3

            DR. MARTENS AIRWAIR USA LLC
            DEPT. 3259
            P.O. BOX 123259
            DALLAS, TX 75312-3259


  26d.4

            EASTOVER PLAZA IMPROVEMENTS, LLC
            C/O DLC MANAGEMENT CORPORATION
            565 TAXTER ROAD
            ELMSFORD, NY 10523


  26d.5

            EASTOVER PLZ IMPROVEMENTS LLC
            PO BOX 828595
            PHILADELPHIA, PA 19182-8595
Debtor    ESCO, Ltd._______________________________________________________________   Case number (if known) 23-12237________________________________________
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                                       Case
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  26d.6

            GAVIN/SOLMONESE
            1007 ORANGE ST., 4TH FLOOR
            SUITE 461
            WILMINGTON, DE 19801


  26d.7

            GORDON BROTHERS
            10218 N. PORT WASHINGTON ROAD
            MEQUON, WI 53092


  26d.8

            JABEZ GROUP, LLC
            220 WATERFORD SQUARE
            SUITE C
            MADISON, MS 39110


  26d.9

            NEW BALANCE ATHLETIC SHOE
            PO BOX 415206
            BOSTON, MA 02241-5206


  26d.10

            NIKE USA, INC.
            PO BOX 281829
            ACCOUNT# 80604
            ATLANTA, GA 30384-1829


  26d.11

            PUMA NORTH AMERICA, INC.
            PO BOX 74007020
            CHICAGO, IL 60674-7020


  26d.12

            REEBOK INTERNATIONAL LTD.
            DEPT CH 19405
            PALATINE, IL 60055-9405


  26d.13

            SAUL EWING
            P.O. BOX 825482
            PHILADELPHIA, PA 19182-5482


  26d.14

            SOUTH EASTERN PARTNERS, LLC


  26d.15

            THE CIT GROUP/COMMERCIAL SVCS.
            P.O. BOX 1036
            CHARLOTTE, NC 28201
Debtor    ESCO, Ltd._______________________________________________________________                  Case number (if known) 23-12237________________________________________
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                                          Case
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  26d.16

              TRUIST FINANCIAL CORPORATION
              214 NORTH TRYON STREET
              CHARLOTTE, NC 28202


  26d.17

              UNDER ARMOUR, INC.
              CUSTOMER ID# 11560145
              P.O. BOX 791022
              BALTIMORE, MD 21279-1022


  26d.18

              VF CORPORATION
              1551 WEWATTA ST.
              DENVER, CO 80202


  26d.19

              WELLS FARGO TRADE CAPITAL SERVICES, INC.
              119 WEST 40TH STREET
              NEW YORK, NY 10018


  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                            Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                           basis) of each inventory

  Kenneth L. Simmons III - Director of Loss Prevention                                     Inventory is taken and         $11,821,734.68 (FIFO)
                                                                                           recorded perpetually


   Name and address of the person who has possession of inventory records

  27.1

              MICHAEL WEBB- CFO
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                         Position and nature of any interest          % of interest, if any

  28.1
                                                                                           CEO, Class A Voting Stock                    163 Shares (.62%)
              THEODORE GREENBERG
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28.2
                                                                                           Class A Voting Stock                         348 Shares (1.33%)
              BETH GREENBERG
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007
Debtor    ESCO, Ltd._______________________________________________________________                 Case number (if known) 23-12237________________________________________
          Name
                                           Case
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  28.3
                                                                                            Class B Non-Voting Stock                      9,135.35 Shares (35.0%)
              GREENBERG FAMILY 2012 IRREVOCABLE TRUST NO. 1
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28.4
                                                                                            Class B Non-Voting Stock                      2,805.08 Shares (10.75%)
              GREENBERG FAMILY 2012 IRREVOCABLE TRUST NO. 1
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28.5
                                                                                            Class B Non-Voting Stock                      12,670.01 Shares (48.54%)
              GREENBERG FAMILY 2012 IRREVOCABLE TRUST NO. 4
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28.6
                                                                                            Class B Non-Voting Stock                      979.56 Shares (3.75%)
              GREENBERG FAMILY 2012 IRREVOCABLE TRUST NO. 5
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  28.7
                                                                                            President
              GREG GREENBERG
              1800 WOODLAWN DRIVE
              GWYNN OAK, MD 21207-4007


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                          Position and nature of any interest           Period during which position or
                                                                                                                                           interest was held

  29.1
                                                                                                                                          From                  to



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1

              Refer to SOFA 4 Attachment


   Relationship To Debtor
Debtor    ESCO, Ltd._______________________________________________________________             Case number (if known) 23-12237________________________________________
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  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                       Employer Identification number of the parent
                                                                                                                        corporation

  31.1
                                                                                                                      EIN

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                             Employer Identification number of the pension fund

  32.1
                                                                                                                      EIN
                                                  Case
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                                                                       Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                                  Reason for Payment or
                 Creditor's Name                     Address 1                            Address 2                          City              State     ZIP        Country   Payment Date   Payment Amount             Transfer
26 INTERNATIONAL INC.                  THE CIT GROUP/COMMERCIAL SVR.             PO BOX 1036                           CHARLOTTE               NC    28201-1036                 2/7/2023            $12,000.00 SUPPLIERS OR VENDORS
26 INTERNATIONAL INC. Total                                                                                                                                                                         $12,000.00

ADIDAS AMERICA, INC.                   DEPT CH 19361                                                                   PALATINE                IL      60055-9405               1/4/2023            $99,468.28 SUPPLIERS OR VENDORS
ADIDAS AMERICA, INC.                   DEPT CH 19361                                                                   PALATINE                IL      60055-9405               2/7/2023            $13,124.97 SUPPLIERS OR VENDORS
ADIDAS AMERICA, INC. Total                                                                                                                                                                         $112,593.25

ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              1/4/2023                $352.56 SERVICES
ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              1/31/2023             $3,802.58 SERVICES
ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              2/7/2023              $3,985.93 SERVICES
ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              2/21/2023             $3,339.95 SERVICES
ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              2/28/2023               $373.71 SERVICES
ADP, LLC                               PO BOX 842875                                                                   BOSTON                  MA      02284-2875              3/21/2023             $3,476.48 SERVICES
ADP, LLC Total                                                                                                                                                                                      $15,331.21

ASICS AMERICA CORPORATION              PO BOX 827483                                                                   PHILADELPHIA            PA      19182-7483              1/24/2023             $6,837.67 SUPPLIERS OR VENDORS
ASICS AMERICA CORPORATION Total                                                                                                                                                                      $6,837.67

AVALARA ACT 6022                       255 S. KING ST #1800                                                            SEATTLE                 WA      98104                   1/12/2023             $5,142.67 SERVICES
AVALARA ACT 6022                       255 S. KING ST #1800                                                            SEATTLE                 WA      98104                   2/14/2023             $5,110.18 SERVICES
AVALARA ACT 6022                       255 S. KING ST #1800                                                            SEATTLE                 WA      98104                   3/14/2023             $8,583.81 SERVICES
AVALARA ACT 6022 Total                                                                                                                                                                              $18,836.66

AVANTE ELLSWORTH VENTRE I LLC          ASSET MANAGEMENT                          9010 OVERLOOK BOULEVARD               BRENTWOOD               TN      37027                    3/3/2023            $43,893.46 TRADE PAYABLE
AVANTE ELLSWORTH VENTRE I LLC Total                                                                                                                                                                 $43,893.46

BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              1/4/2023              $3,679.41 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              1/10/2023            $16,506.62 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              1/17/2023             $4,796.01 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              1/24/2023             $4,330.70 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              1/31/2023            $31,876.25 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              2/7/2023             $11,044.44 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              2/14/2023             $4,418.05 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              2/21/2023             $2,753.28 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              2/28/2023             $1,486.03 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              3/7/2023             $17,900.96 UTILITY
BALTIMORE GAS ELECTRIC                 PO BOX 13070                                                                    PHILADELPHIA            PA      19101-3070              3/14/2023             $4,649.32 UTILITY
BALTIMORE GAS ELECTRIC Total                                                                                                                                                                       $103,441.07

BALTIMOREGOVT                          COLLECTION DIVISION                       P.O. BOX 17535                        BALTIMORE               MD      21297-1535              1/24/2023               $105.90 TAXES
BALTIMOREGOVT                          COLLECTION DIVISION                       P.O. BOX 17535                        BALTIMORE               MD      21297-1535              2/24/2023           $108,176.49 TAXES
BALTIMOREGOVT                          COLLECTION DIVISION                       P.O. BOX 17535                        BALTIMORE               MD      21297-1535              2/24/2023                $51.40 TAXES
BALTIMOREGOVT Total                                                                                                                                                                                $108,333.79

BENEFITMALL PYMT                       PO BOX 418742                                                                   BOSTON                  MA      02241-8742              1/20/2023            $42,696.99 EMPLOYEE BENEFITS
BENEFITMALL PYMT                       PO BOX 418742                                                                   BOSTON                  MA      02241-8742              2/21/2023            $37,057.31 EMPLOYEE BENEFITS
BENEFITMALL PYMT                       PO BOX 418742                                                                   BOSTON                  MA      02241-8742              3/15/2023            $39,121.64 EMPLOYEE BENEFITS
BENEFITMALL PYMT Total                                                                                                                                                                             $118,875.94

BRE DDR BR WHITE OAK VA LLC            C/O DDR CORP. ATTN: LEASING.              3300 ENTERPRISE PARKWAY               BEACHWOOD               OH      44122                    3/15/2023           $14,313.68 TRADE PAYABLE
BRE DDR BR WHITE OAK VA LLC Total                                                                                                                                                                   $14,313.68

BRIAN BROTHERS, INC.                   THE CIT GROUP/COMMERICAL SERVI            P.O BOX 1036                          CHARLOTTE               NC      28201-1036              1/24/2023            $30,420.00 SUPPLIERS OR VENDORS
BRIAN BROTHERS, INC. Total                                                                                                                                                                          $30,420.00

BRINKS INCORPORATED                    3235 SATELLITE BOULEVARD                  BUILDING 400, SUITE 300               DULUTH                  GA      30096                   1/4/2023             $18,270.61 SERVICES
BRINKS INCORPORATED                    3235 SATELLITE BOULEVARD                  BUILDING 400, SUITE 300               DULUTH                  GA      30096                   2/7/2023             $18,758.35 SERVICES
BRINKS INCORPORATED                    3235 SATELLITE BOULEVARD                  BUILDING 400, SUITE 300               DULUTH                  GA      30096                   2/21/2023            $18,717.34 SERVICES
BRINKS INCORPORATED                    3235 SATELLITE BOULEVARD                  BUILDING 400, SUITE 300               DULUTH                  GA      30096                   3/28/2023            $18,266.85 SERVICES
BRINKS INCORPORATED Total                                                                                                                                                                           $74,013.15

CDTFA                                  P.O. BOX 942879                                                                 SACRAMENTO              CA      94279                   3/27/2023             $9,277.64 TAXES
CDTFA Total                                                                                                                                                                                          $9,277.64

CHESAPEAKE SQUARE SHOPPING CEN         10096 RED RUN BLVD. SUITE 300                                                   OWINGS MILLS            MD      21117                    1/26/2023           $12,320.50 TRADE PAYABLE
CHESAPEAKE SQUARE SHOPPING CEN         10096 RED RUN BLVD. SUITE 300                                                   OWINGS MILLS            MD      21117                    3/1/2023            $12,320.50 TRADE PAYABLE
CHESAPEAKE SQUARE SHOPPING CEN Total                                                                                                                                                                $24,641.00




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Case No. 23-12237 (DER)                                                                                  Page 1 of 7
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                                                                    Certain payments or transfers to creditors within 90 days before filing this case



                                                                                                                                                                                                               Reason for Payment or
                Creditor's Name                      Address 1                         Address 2                         City               State     ZIP        Country   Payment Date   Payment Amount             Transfer
COLISEUM CROSSING ASSOCIATES,          C/O ROBERT BROWN & ASSOCIATES INC.     41 OLD OYSTER POINT ROAD,             NEWPORT NEWS            VA    23602                      1/26/2023            $9,126.34 TRADE PAYABLE
                                                                              SUITE A
COLISEUM CROSSING ASSOCIATES, Total                                                                                                                                                               $9,126.34

COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              1/10/2023             $3,802.34 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              1/17/2023             $3,038.59 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              1/31/2023             $2,895.09 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              2/7/2023              $2,624.60 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              2/21/2023             $1,298.44 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              2/28/2023             $4,290.35 SERVICES
COMCAST                                PO BOX 70219                                                                 PHILADELPHIA            PA      19176-0219              3/7/2023              $1,855.56 SERVICES
COMCAST Total                                                                                                                                                                                    $19,804.97

COMP OF MARYLAND                       110 CARROLL ST.                                                              ANNAPOLIS               MD      21411                   1/24/2023           $231,633.02 TAXES
COMP OF MARYLAND                       110 CARROLL ST.                                                              ANNAPOLIS               MD      21411                   3/22/2023           $175,123.15 TAXES
COMP OF MARYLAND Total                                                                                                                                                                          $406,756.17

CONVERSE INC.                          13328 COLLECTIONS CENTER DRIVE                                               CHICAGO                 IL      60693-0133              1/10/2023            $23,421.00 SUPPLIERS OR VENDORS
CONVERSE INC.                          13328 COLLECTIONS CENTER DRIVE                                               CHICAGO                 IL      60693-0133              1/24/2023            $32,642.96 SUPPLIERS OR VENDORS
CONVERSE INC.                          13328 COLLECTIONS CENTER DRIVE                                               CHICAGO                 IL      60693-0133              2/14/2023            $36,034.29 SUPPLIERS OR VENDORS
CONVERSE INC.                          13328 COLLECTIONS CENTER DRIVE                                               CHICAGO                 IL      60693-0133              3/1/2023             $81,733.34 SUPPLIERS OR VENDORS
CONVERSE INC. Total                                                                                                                                                                             $173,831.59

CROSSROADS INTERACTIVE, LLC            3600 CLIPPER MILL ROAD                                                       BALTIMORE               MD      21211                   2/7/2023             $34,813.30 SUPPLIERS OR VENDORS
CROSSROADS INTERACTIVE, LLC            3600 CLIPPER MILL ROAD                                                       BALTIMORE               MD      21211                   3/7/2023             $34,813.30 SUPPLIERS OR VENDORS
CROSSROADS INTERACTIVE, LLC            3600 CLIPPER MILL ROAD                                                       BALTIMORE               MD      21211                   3/21/2023            $69,626.60 SUPPLIERS OR VENDORS
CROSSROADS INTERACTIVE, LLC Total                                                                                                                                                               $139,253.20

CS REALTY GROUP LLC                    C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BROOKLYN                NY      11207                    1/26/2023           $11,250.00 TRADE PAYABLE
CS REALTY GROUP LLC                    C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BROOKLYN                NY      11207                    2/7/2023               $833.44 TRADE PAYABLE
CS REALTY GROUP LLC Total                                                                                                                                                                        $12,083.44

DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   1/23/2023             $2,466.27 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   1/23/2023             $8,423.69 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   1/23/2023            $12,071.77 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   1/23/2023            $13,019.76 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   1/23/2023            $21,506.35 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   2/23/2023             $5,553.00 TAXES
DC-OTR-WEB-SLU                         P.O. BOX 96019                                                               WASHINGTON              DC      20090                   3/22/2023             $7,728.54 TAXES
DC-OTR-WEB-SLU Total                                                                                                                                                                             $70,769.38

DM TRANSPORTATION MANAGEMENT S         PO BOX 62924                                                                 BALTIMORE               MD      21264-2924              1/4/2023                $233.00 SUPPLIERS OR VENDORS
DM TRANSPORTATION MANAGEMENT S         PO BOX 62924                                                                 BALTIMORE               MD      21264-2924              2/7/2023              $3,807.99 SUPPLIERS OR VENDORS
DM TRANSPORTATION MANAGEMENT S         PO BOX 62924                                                                 BALTIMORE               MD      21264-2924              2/21/2023             $5,560.75 SUPPLIERS OR VENDORS
DM TRANSPORTATION MANAGEMENT S Total                                                                                                                                                              $9,601.74

DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              1/10/2023             $1,555.55 UTILITY
DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              1/24/2023             $1,710.83 UTILITY
DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              1/31/2023             $3,041.28 UTILITY
DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              2/21/2023             $1,195.09 UTILITY
DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              2/28/2023             $1,327.79 UTILITY
DOMINION ENERGY VIRGINIA               PO BOX 26543                                                                 RICHMOND                VA      23290-0001              3/7/2023              $1,542.63 UTILITY
DOMINION ENERGY VIRGINIA Total                                                                                                                                                                   $10,373.17

EDGEWATER PARTNERSHIP LP               C/O THE POWER PLANT.                   601 E. PRATT STREET, 6TH              BALTIMORE               MD      21202                   1/26/2023             $8,616.63 TRADE PAYABLE
                                                                              FLOOR
EDGEWATER PARTNERSHIP LP               C/O THE POWER PLANT.                   601 E. PRATT STREET, 6TH              BALTIMORE               MD      21202                    2/7/2023             $2,724.71 TRADE PAYABLE
                                                                              FLOOR
EDGEWATER PARTNERSHIP LP Total                                                                                                                                                                   $11,341.34

EMU AUSTRALIA (USA) INC                SUITE 103                              153 N. COAST HIGHWAY 101              SOLANA BEACH            CA      92075                   1/31/2023            $17,292.00 SUPPLIERS OR VENDORS
EMU AUSTRALIA (USA) INC                SUITE 103                              153 N. COAST HIGHWAY 101              SOLANA BEACH            CA      92075                   1/31/2023             $5,568.00 SUPPLIERS OR VENDORS
EMU AUSTRALIA (USA) INC Total                                                                                                                                                                    $22,860.00

EPITOME TRADING INC.                   927 S. MCGARRY ST                                                            LOS ANGLES              CA      90021                    2/7/2023            $16,010.00 SUPPLIERS OR VENDORS
EPITOME TRADING INC. Total                                                                                                                                                                       $16,010.00

FEDERAL REALTY INVESTMENT TRUST        ATTN: LEGAL DEPT.                      900 ROSE AVE, SUITE 200               NORTH BETHESDA          MD      20852                    1/26/2023           $29,920.00 LANDLORD
FEDERAL REALTY INVESTMENT TRUST        ATTN: LEGAL DEPT.                      900 ROSE AVE, SUITE 200               NORTH BETHESDA          MD      20852                    3/1/2023            $30,322.94 LANDLORD




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                                                                      Certain payments or transfers to creditors within 90 days before filing this case



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                 Creditor's Name                      Address 1                           Address 2                         City              State     ZIP        Country   Payment Date   Payment Amount             Transfer
FEDERAL REALTY INVESTMENT TRUST         ATTN: LEGAL DEPT.                       900 ROSE AVE, SUITE 200               NORTH BETHESDA          MD    20852                      1/10/2023           $15,601.01 LANDLORD
FEDERAL REALTY INVESTMENT TRUST Total                                                                                                                                                              $75,843.95

FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              1/10/2023                $18.50 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              1/24/2023             $1,020.82 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              1/31/2023             $2,315.70 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              2/7/2023              $2,097.71 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              2/14/2023             $1,757.73 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              2/21/2023             $2,321.02 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              3/7/2023              $1,993.83 SERVICES
FEDEX                                   PO BOX 371461                                                                 PITTSBURGH              PA      15250-7461              3/14/2023             $3,112.22 SERVICES
FEDEX Total                                                                                                                                                                                        $14,637.53

FLA DEPT REVENUE                        1379 BLOUNTSTOWN HWY.                                                         TALLAHASSEE             FL      32304-2716              1/20/2023             $7,208.62 TAXES
FLA DEPT REVENUE                        1379 BLOUNTSTOWN HWY.                                                         TALLAHASSEE             FL      32304-2716              2/17/2023             $2,604.26 TAXES
FLA DEPT REVENUE                        1379 BLOUNTSTOWN HWY.                                                         TALLAHASSEE             FL      32304-2716              3/17/2023             $4,193.76 TAXES
FLA DEPT REVENUE Total                                                                                                                                                                             $14,006.64

FUNDGCIRCLE_USA                         PO BOX 888383                                                                 LOS ANGELES             CA      90088-8383              2/13/2023            $38,325.05 LOAN PAYMENT
FUNDGCIRCLE_USA                         PO BOX 888383                                                                 LOS ANGELES             CA      90088-8383              2/23/2023            $34,040.33 LOAN PAYMENT
FUNDING CIRCLE                          PO BOX 888383                                                                 LOS ANGELES             CA      90088-8383              3/24/2023            $34,040.33 LOAN PAYMENT
FUNDING CIRCLE Total                                                                                                                                                                              $106,405.71

GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                   3/29/2023            $41,100.00 RESTRUCTURING EXPENSE
GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                   2/10/2023            $30,000.00 PROFESSIONAL
GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                   2/10/2023            $30,000.00 PROFESSIONAL
GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                   2/13/2023            $30,000.00 PROFESSIONAL
GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                   2/14/2023            $30,000.00 PROFESSIONAL
GAVIN/SOLMONESE LLC                     1007 ORANGE ST., 4TH FLOOR              SUITE 461                             WILMINGTON              DE      19801                    3/7/2023            $25,000.00 PROFESSIONAL
GAVIN/SOLMONESE LLC Total                                                                                                                                                                         $186,100.00

GOOD HOPE MARKET PLACE, LP              ATTN: LOAN PORTFOLIO MANAGER            3333 PEACHTREE ROAD, 4TH              ATLANTA                 GA      30326                   1/13/2023             $6,486.16 TRADE PAYABLE
                                                                                FLOOR
GOOD HOPE MARKET PLACE, LP              ATTN: LOAN PORTFOLIO MANAGER            3333 PEACHTREE ROAD, 4TH              ATLANTA                 GA      30326                   1/26/2023            $21,784.29 TRADE PAYABLE
                                                                                FLOOR
GOOD HOPE MARKET PLACE, LP              ATTN: LOAN PORTFOLIO MANAGER            3333 PEACHTREE ROAD, 4TH              ATLANTA                 GA      30326                    3/1/2023            $21,692.17 TRADE PAYABLE
                                                                                FLOOR
GOOD HOPE MARKET PLACE, LP              ATTN: LOAN PORTFOLIO MANAGER            3333 PEACHTREE ROAD, 4TH              ATLANTA                 GA      30326                    3/1/2023            $21,784.29 TRADE PAYABLE
                                                                                FLOOR
GOOD HOPE MARKET PLACE, LP Total                                                                                                                                                                   $71,746.91

GORDON BROTHERS RETAIL PARTNERS         800 BOYLSTON ST.                        27TH FLOOR                            BOSTON                  MA      53092                   3/17/2023           $400,000.00 RESTRUCTURING EXPENSE
GORDON BROTHERS RETAIL PARTNERS Total                                                                                                                                                             $400,000.00

GORFINE,SCHILLER & GARDYN, P.           19833 LEITERSBURG PIKE #2,                                                    HAGERSTOWN              MD      21742                    2/7/2023             $4,950.00 SERVICES
GORFINE,SCHILLER & GARDYN, P.           19833 LEITERSBURG PIKE #2,                                                    HAGERSTOWN              MD      21742                    2/14/2023            $4,950.00 SERVICES
GORFINE,SCHILLER & GARDYN, P. Total                                                                                                                                                                 $9,900.00

H & R LEASING LLC                       1 WEST PENNSYLVANIA AVE,STE 32                                                BALTIMORE               MD      21204                   1/4/2023              $3,000.00 SERVICES
H & R LEASING LLC                       1 WEST PENNSYLVANIA AVE,STE 32                                                BALTIMORE               MD      21204                   2/7/2023              $3,000.00 SERVICES
H & R LEASING LLC                       1 WEST PENNSYLVANIA AVE,STE 32                                                BALTIMORE               MD      21204                   2/28/2023             $3,000.00 SERVICES
H & R LEASING LLC Total                                                                                                                                                                             $9,000.00

HARVIC INTERNATIONAL LTD.               WELLS FARGO BANK, N.A                   PO BOX 842683                         BOSTON                  MA      02284-2683              2/7/2023             $12,924.00 SUPPLIERS OR VENDORS
HARVIC INTERNATIONAL LTD.               WELLS FARGO BANK, N.A                   PO BOX 842683                         BOSTON                  MA      02284-2683              2/14/2023            $11,280.00 SUPPLIERS OR VENDORS
HARVIC INTERNATIONAL LTD. Total                                                                                                                                                                    $24,204.00

IRS                                     DEPARTMENT OF THE TREASURY              INTERNAL REVENUE SERVICE              KANSAS CITY             MO      64999                   1/23/2023            $22,878.00 TAXES
                                                                                CENTER
IRS Total                                                                                                                                                                                          $22,878.00

KIDZ CONCEPTS                           1412 BROADWAY, 3RD FLOOR                                                      NEW YORK                NY      10018                   2/14/2023            $12,009.17 SUPPLIERS OR VENDORS
KIDZ CONCEPTS Total                                                                                                                                                                                $12,009.17

KING ASSOCIATES LIMITED PARTNE          C/O HARVEY PROPERTY MANAGEMENT          6708 WISCONSIN AVENUE,                BETHESDA                MD      20815                   1/26/2023            $12,772.99 TRADE PAYABLE
                                        COMPANY, INC.                           SUITE 360
KING ASSOCIATES LIMITED PARTNE Total                                                                                                                                                               $12,772.99

MAXY TRADING CORP                       ROSENTHAL & ROSENTHAL, INC.             PO BOX 88926                          CHICAGO                 IL      60695-1926               2/7/2023            $11,100.00 SUPPLIERS OR VENDORS




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               Creditor's Name                          Address 1                             Address 2                         City            State          ZIP   Country   Payment Date   Payment Amount            Transfer
MAXY TRADING CORP Total                                                                                                                                                                              $11,100.00

NEW BALANCE ATHLETIC SHOE              PO BOX 415206                                                                   BOSTON                  MA       02241-5206              1/10/2023           $189,260.10 SUPPLIERS OR VENDORS
NEW BALANCE ATHLETIC SHOE              PO BOX 415206                                                                   BOSTON                  MA       02241-5206              1/31/2023            $44,308.00 SUPPLIERS OR VENDORS
NEW BALANCE ATHLETIC SHOE              PO BOX 415206                                                                   BOSTON                  MA       02241-5206              2/7/2023             $76,937.76 SUPPLIERS OR VENDORS
NEW BALANCE ATHLETIC SHOE              PO BOX 415206                                                                   BOSTON                  MA       02241-5206              2/21/2023           $167,876.76 SUPPLIERS OR VENDORS
NEW BALANCE ATHLETIC SHOE Total                                                                                                                                                                     $478,382.62

NEW ERA CAP, LLC                       PO BOX 7410646                                                                  CHICAGO                 IL       60674-0646               2/7/2023            $26,676.32 SUPPLIERS OR VENDORS
NEW ERA CAP, LLC Total                                                                                                                                                                               $26,676.32

NEW OAK HILL PLAZA, LLC                65 HARRISTOWN ROAD, SUITE 301                                                   GLEN ROCK               NJ       7452                    1/20/2023            $10,183.94 TRADE PAYABLE
NEW OAK HILL PLAZA, LLC                65 HARRISTOWN ROAD, SUITE 301                                                   GLEN ROCK               NJ       7452                    1/26/2023            $16,014.66 TRADE PAYABLE
NEW OAK HILL PLAZA, LLC                65 HARRISTOWN ROAD, SUITE 301                                                   GLEN ROCK               NJ       7452                    3/1/2023             $16,268.82 TRADE PAYABLE
NEW OAK HILL PLAZA, LLC Total                                                                                                                                                                        $42,467.42

NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              1/4/2023           $499,220.08 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              1/10/2023          $153,668.52 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              1/24/2023          $432,872.57 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              1/31/2023          $204,609.11 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              2/7/2023           $118,057.12 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              2/14/2023          $226,148.22 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              2/14/2023          $226,058.22 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              2/21/2023          $271,654.90 SUPPLIERS OR VENDORS
NIKE USA, INC.                         PO BOX 281829                             ACCOUNT# 80604                        ATLANTA                 GA       30384-1829              3/1/2023           $836,870.79 SUPPLIERS OR VENDORS
NIKE USA, INC. Total                                                                                                                                                                              $2,969,159.53

NYS DTF SALES                          W.A. HARRIMAN CAMPUS                                                            ALBANY                  NY       12227                    1/20/2023            $1,987.15 TAXES
NYS DTF SALES                          W.A. HARRIMAN CAMPUS                                                            ALBANY                  NY       12227                    2/21/2023            $1,230.80 TAXES
NYS DTF SALES                          W.A. HARRIMAN CAMPUS                                                            ALBANY                  NY       12227                    3/20/2023            $5,667.40 TAXES
NYS DTF SALES Total                                                                                                                                                                                   $8,885.35

ORION SYSTEMS INTEGRATORS              ATTN: ACCOUNTS RECEIVABLE DEPT            333 THORNALL, 7TH FLOOR               EDISON                  NJ       8837                     1/10/2023            $4,055.00 SERVICES
ORION SYSTEMS INTEGRATORS              ATTN: ACCOUNTS RECEIVABLE DEPT            333 THORNALL, 7TH FLOOR               EDISON                  NJ       8837                     2/7/2023             $4,055.00 SERVICES
ORION SYSTEMS INTEGRATORS Total                                                                                                                                                                       $8,110.00

OUTRANK BRAND, INC                     13456 SW 131 STREET                                                             MIAMI                   FL       33186                    2/7/2023             $9,100.00 SUPPLIERS OR VENDORS
OUTRANK BRAND, INC Total                                                                                                                                                                              $9,100.00

PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    1/10/2023           $14,317.79 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    1/24/2023           $13,993.09 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    1/31/2023            $7,496.52 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    2/7/2023             $8,580.13 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    2/14/2023           $20,186.71 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    2/28/2023           $22,116.03 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    3/7/2023             $3,282.52 SERVICES
PACIFIC LOGISTICS CORPORATION          7255 ROSEMEAD BLVD.                                                             PICO RIVERA             CA       90660                    3/14/2023            $5,713.33 SERVICES
PACIFIC LOGISTICS CORPORATION Total                                                                                                                                                                  $95,686.12

PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   1/10/2023             $6,549.58 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   1/17/2023                $75.00 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   1/24/2023                $75.00 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   2/7/2023              $2,098.03 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   2/14/2023             $5,792.69 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   2/28/2023             $1,191.06 SERVICES
PENSKE TRUCK LEASING CO., L.P.         2675 MORGANTOWN ROAD                                                            READING                 PA       19607                   3/14/2023               $424.46 SERVICES
PENSKE TRUCK LEASING CO., L.P. Total                                                                                                                                                                 $16,205.82

PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/10/2023             $1,559.39 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/10/2023             $2,203.32 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/10/2023             $3,537.76 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/17/2023             $2,030.29 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/24/2023             $1,395.30 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   1/31/2023               $375.23 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   2/7/2023              $4,558.53 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   2/8/2023              $5,857.08 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   2/21/2023             $2,009.54 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   2/28/2023             $1,683.20 SERVICES
PEPCO                                  PO BOX 13608                                                                    PHILADELPHIA            PA       19101                   3/7/2023              $3,907.48 SERVICES




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                                                                    Certain payments or transfers to creditors within 90 days before filing this case



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                     Creditor's Name                    Address 1                          Address 2                       City             State     ZIP        Country   Payment Date   Payment Amount             Transfer
PEPCO                                  PO BOX 13608                                                                 PHILADELPHIA            PA    19101                      3/14/2023            $1,826.25 SERVICES
PEPCO Total                                                                                                                                                                                      $30,943.37

POLSINELLI PC                          222 DELAWARE AVE.                      SUITE 1101                            WILMINGTON              DE                              3/29/2023            $50,000.00 RESTRUCTURING EXPENSE
POLSINELLI PC                          222 DELAWARE AVE.                      SUITE 1101                            WILMINGTON              DE      19801                   3/17/2023           $200,000.00 RESTRUCTURING EXPENSE
POLSINELLI PC Total                                                                                                                                                                             $250,000.00

PORTLAND ACCESSORIES, LLC              2240 N. INTERSTATE #230                                                      PORTLAND                OR      97227                    2/7/2023            $24,956.00 SUPPLIERS OR VENDORS
PORTLAND ACCESSORIES, LLC              2240 N. INTERSTATE #230                                                      PORTLAND                OR      97227                    2/8/2023            $14,144.00 SUPPLIERS OR VENDORS
PORTLAND ACCESSORIES, LLC Total                                                                                                                                                                  $39,100.00

PRINCE GEORGE'S COUNTY MD              PO BOX 70526                                                                 PHILADELPHIA            PA      19176-0526              1/17/2023             $1,874.15 TRADE PAYABLE
PRINCE GEORGE'S COUNTY MD              PO BOX 70526                                                                 PHILADELPHIA            PA      19176-0526              2/7/2023              $7,007.06 TRADE PAYABLE
PRINCE GEORGE'S COUNTY MD Total                                                                                                                                                                   $8,881.21

PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   1/6/2023              $6,804.28 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   1/23/2023            $10,927.91 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   2/1/2023             $10,911.97 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   2/16/2023            $10,961.29 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   3/3/2023             $10,939.74 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   3/16/2023             $9,990.41 EMPLOYEE BENEFITS
PRINCIPAL LIFE P                       ATTENTION: RIS                         711 HIGH STREET                       DES MOINES              IA      50392                   3/30/2023            $10,449.17 EMPLOYEE BENEFITS
PRINCIPAL LIFE P Total                                                                                                                                                                           $70,984.77

PROFORMA                               PO BOX 640814                                                                CINCINNATI              OH      45264-0814              1/24/2023             $9,259.31 SUPPLIERS OR VENDORS
PROFORMA Total                                                                                                                                                                                    $9,259.31

PROMAX                                 THE CIT GROUP/COMMERCIAL SERVI         PO BOX 1036                           CHARLOTTE               NC      28201-1036              2/7/2023              $6,988.60 SUPPLIERS OR VENDORS
PROMAX                                 THE CIT GROUP/COMMERCIAL SERVI         PO BOX 1036                           CHARLOTTE               NC      28201-1036              2/14/2023            $36,955.00 SUPPLIERS OR VENDORS
PROMAX Total                                                                                                                                                                                     $43,943.60

PSD UNDERWEAR                          PO BOX 841651                                                                LOS ANGELES             CA      90084-1651               2/7/2023            $48,196.43 SUPPLIERS OR VENDORS
PSD UNDERWEAR                          PO BOX 841651                                                                LOS ANGELES             CA      90084-1651               2/8/2023            $14,532.27 SUPPLIERS OR VENDORS
PSD UNDERWEAR Total                                                                                                                                                                              $62,728.70

PUMA NORTH AMERICA, INC.               PO BOX 74007020                                                              CHICAGO                 IL      60674-7020              2/7/2023             $35,964.00 SUPPLIERS OR VENDORS
PUMA NORTH AMERICA, INC.               PO BOX 74007020                                                              CHICAGO                 IL      60674-7020              2/8/2023             $73,941.00 SUPPLIERS OR VENDORS
PUMA NORTH AMERICA, INC.               PO BOX 74007020                                                              CHICAGO                 IL      60674-7020              2/14/2023            $78,144.75 SUPPLIERS OR VENDORS
PUMA NORTH AMERICA, INC. Total                                                                                                                                                                  $188,049.75

RAKUTEN MARKETING LLC                  215 PARK AVENUE SOUTH, 2ND FLOOR                                             NEW YORK                NY      10003                    1/10/2023           $22,323.22 SERVICES
RAKUTEN MARKETING LLC                  215 PARK AVENUE SOUTH, 2ND FLOOR                                             NEW YORK                NY      10003                    1/24/2023            $8,212.50 SERVICES
RAKUTEN MARKETING LLC                  215 PARK AVENUE SOUTH, 2ND FLOOR                                             NEW YORK                NY      10003                    1/31/2023            $2,033.43 SERVICES
RAKUTEN MARKETING LLC                  215 PARK AVENUE SOUTH, 2ND FLOOR                                             NEW YORK                NY      10003                    2/14/2023            $5,276.09 SERVICES
RAKUTEN MARKETING LLC                  215 PARK AVENUE SOUTH, 2ND FLOOR                                             NEW YORK                NY      10003                    3/14/2023           $21,019.75 SERVICES
RAKUTEN MARKETING LLC Total                                                                                                                                                                      $58,864.99

REPUBLIC SERVICES #050                 PO BOX 9001099                                                               LOUISVILLE              KY      40290-1099              1/10/2023             $2,998.83 SERVICES
REPUBLIC SERVICES #050                 PO BOX 9001099                                                               LOUISVILLE              KY      40290-1099              2/7/2023              $2,499.40 SERVICES
REPUBLIC SERVICES #050                 PO BOX 9001099                                                               LOUISVILLE              KY      40290-1099              3/14/2023             $2,278.16 SERVICES
REPUBLIC SERVICES #050 Total                                                                                                                                                                      $7,776.39

RIP N REPAIR                           2001 SUNSET LN                                                               FULLERTON               CA      92833                    2/8/2023            $10,787.40 SUPPLIERS OR VENDORS
RIP N REPAIR Total                                                                                                                                                                               $10,787.40

RIVERSIDE REALTY CO.                   C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BALTIMORE               MD      21223                    1/26/2023           $11,144.33 TRADE PAYABLE
RIVERSIDE REALTY CO.                   C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BALTIMORE               MD      21223                    1/31/2023            $5,990.72 TRADE PAYABLE
RIVERSIDE REALTY CO.                   C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BALTIMORE               MD      21223                    1/31/2023            $4,804.83 TRADE PAYABLE
RIVERSIDE REALTY CO.                   C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BALTIMORE               MD      21223                    2/7/2023             $1,185.89 TRADE PAYABLE
RIVERSIDE REALTY CO.                   C/O MAVERICK MANAGEMENT CORP.          1000 PENNSYLVANIA AVENUE              BALTIMORE               MD      21223                    2/28/2023            $1,810.44 TRADE PAYABLE
RIVERSIDE REALTY CO. Total                                                                                                                                                                       $24,936.21

S. ALBERT GLASS COMPANY, INC.          6600 AMMENDALE ROAD                                                          BELTSVILLE              MD      20705                   1/4/2023                $515.00 SUPPLIERS OR VENDORS
S. ALBERT GLASS COMPANY, INC.          6600 AMMENDALE ROAD                                                          BELTSVILLE              MD      20705                   2/14/2023              $500.00 SUPPLIERS OR VENDORS
S. ALBERT GLASS COMPANY, INC. Total                                                                                                                                                               $1,015.00

SAUL EWING LLP                         PO BOX 825482                                                                PHILADELPHIA            PA      19182-5482              1/4/2023                $479.39 PROFESSIONAL
SAUL EWING LLP                         PO BOX 825482                                                                PHILADELPHIA            PA      19182-5482              1/26/2023             $8,284.75 PROFESSIONAL
SAUL EWING LLP                         PO BOX 825482                                                                PHILADELPHIA            PA      19182-5482              2/14/2023            $10,055.10 PROFESSIONAL




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                   Creditor's Name                        Address 1                            Address 2                       City             State     ZIP        Country   Payment Date   Payment Amount             Transfer
SAUL EWING LLP                            PO BOX 825482                                                                 PHILADELPHIA            PA    19182-5482                 3/14/2023            $6,319.35 PROFESSIONAL
SAUL EWING LLP Total                                                                                                                                                                                 $25,138.59

SAUL HOLDINGS LIMITED PARTNERS            ATTN: LEGAL DEPT.                       7501 WISCONSIN AVE., SUITE            BETHESDA                MD      20814                   1/26/2023             $8,284.75 TRADE PAYABLE
                                                                                  1500E
SAUL HOLDINGS LIMITED PARTNERS Total                                                                                                                                                                  $8,284.75

SAUL HOLDINGS LIMITED PARTNERSHIP         ATTN: LEGAL DEPT.                       7501 WISCONSIN AVE., SUITE            BETHESDA                MD      20814                   1/13/2023            $12,068.00 LANDLORD
                                                                                  1500E
SAUL HOLDINGS LIMITED PARTNERSHIP Total                                                                                                                                                              $12,068.00

SEC SQUARE HOLDING LLC                    5454 WISCONSIN AVENUE, SUITE 1265                                             CHEVY CHASE             MD      20815                    3/1/2023            $54,464.42 TRADE PAYABLE
SEC SQUARE HOLDING LLC Total                                                                                                                                                                         $54,464.42

SPRAY MORET, LLC                          DEPT 1370                               75 REMITTANCE DRIVE                   CHICAGO                 IL      60675-1370              1/26/2023            $10,260.00 SUPPLIERS OR VENDORS
SPRAY MORET, LLC Total                                                                                                                                                                               $10,260.00

ST. ALBAN'S INVESTMENTS LLC               406 H STREET, NE. 2ND FLOOR                                                   WASHINGTON              DC      20002                   1/26/2023            $15,985.66 TRADE PAYABLE
ST. ALBAN'S INVESTMENTS LLC Total                                                                                                                                                                    $15,985.66

STANLEY CONVERGENT SECURITY SO            8350 SUNLIGHT DRIVE                                                           FISHERS                 IN      46037                    1/10/2023           $32,426.69 SERVICES
STANLEY CONVERGENT SECURITY SO            8350 SUNLIGHT DRIVE                                                           FISHERS                 IN      46037                    1/24/2023              $216.21 SERVICES
STANLEY CONVERGENT SECURITY SO Total                                                                                                                                                                 $32,642.90

STRETTO                                   410 EXCHANGE                            SUITE 100                             IRVINE                  CA      92602                   3/29/2023            $25,000.00 RESTRUCTURING EXPENSE
STRETTO Total                                                                                                                                                                                        $25,000.00

TIMBERLAND                                VF OUTDOOR, LLC                         13911 COLLECTION CENTER               CHICAGO                 IL      60693-0328              1/24/2023            $10,681.20 SUPPLIERS OR VENDORS
                                                                                  DRIVE
TIMBERLAND                                VF OUTDOOR, LLC                         13911 COLLECTION CENTER               CHICAGO                 IL      60693-0328               2/7/2023            $15,588.04 SUPPLIERS OR VENDORS
                                                                                  DRIVE
TIMBERLAND                                VF OUTDOOR, LLC                         13911 COLLECTION CENTER               CHICAGO                 IL      60693-0328              2/14/2023            $30,376.32 SUPPLIERS OR VENDORS
                                                                                  DRIVE
TIMBERLAND Total                                                                                                                                                                                     $56,645.56

TRUIST FINANCIAL CORPORATION              214 NORTH TRYON STREET                                                        CHARLOTTE               NC      28202                   1/30/2023            $61,741.93 CREDIT CARD
TRUIST FINANCIAL CORPORATION              214 NORTH TRYON STREET                                                        CHARLOTTE               NC      28202                   2/28/2023            $57,131.49 CREDIT CARD
TRUIST FINANCIAL CORPORATION              214 NORTH TRYON STREET                                                        CHARLOTTE               NC      28202                   3/28/2023            $56,867.17 CREDIT CARD
TRUIST FINANCIAL CORPORATION Total                                                                                                                                                                  $175,740.59

ULINE                                     PO BOX 88741                                                                  CHICAGO                 IL      60680-1741              1/24/2023             $2,023.01 SUPPLIERS OR VENDORS
ULINE                                     PO BOX 88741                                                                  CHICAGO                 IL      60680-1741              2/7/2023                $201.93 SUPPLIERS OR VENDORS
ULINE                                     PO BOX 88741                                                                  CHICAGO                 IL      60680-1741              2/14/2023             $5,219.81 SUPPLIERS OR VENDORS
ULINE                                     PO BOX 88741                                                                  CHICAGO                 IL      60680-1741              3/14/2023             $1,702.55 SUPPLIERS OR VENDORS
ULINE Total                                                                                                                                                                                           $9,147.30

UNDER ARMOUR, INC.                        CUSTOMER ID# 11560145                   PO BOX 791022                         BALTIMORE               MD      21279-1022               2/7/2023            $21,616.40 SUPPLIERS OR VENDORS
UNDER ARMOUR, INC. Total                                                                                                                                                                             $21,616.40

UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   1/4/2023             $18,757.67 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   1/10/2023            $16,905.40 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   1/24/2023             $8,846.88 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   1/31/2023            $10,951.02 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/7/2023             $14,288.39 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/14/2023            $15,507.42 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/15/2023            $17,905.92 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/15/2023            $13,234.05 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/16/2023            $13,234.05 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/21/2023            $32,404.21 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   2/28/2023            $24,703.36 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   3/7/2023             $34,261.06 SERVICES
UPS                                       14402 YORK RD                                                                 SPARKS                  MD      21152                   3/14/2023            $16,089.38 SERVICES
UPS Total                                                                                                                                                                                           $237,088.81

UTICA NATIONAL INSURANCE GROUP            PO BOX 6532                                                                   UTICA                   NY      13504-6532              1/24/2023            $15,602.00 SERVICES
UTICA NATIONAL INSURANCE GROUP            PO BOX 6532                                                                   UTICA                   NY      13504-6532              2/21/2023            $20,703.00 SERVICES
UTICA NATIONAL INSURANCE GROUP            PO BOX 6532                                                                   UTICA                   NY      13504-6532              3/14/2023            $20,818.00 SERVICES
UTICA NATIONAL INSURANCE GROUP Total                                                                                                                                                                 $57,123.00




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                   Creditor's Name                     Address 1                           Address 2                      City              State       ZIP      Country   Payment Date   Payment Amount             Transfer
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               1/24/2023            $1,730.20 TAXES
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               1/24/2023           $59,383.66 TAXES
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               2/22/2023              $917.03 TAXES
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               2/22/2023           $24,746.02 TAXES
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               3/22/2023            $1,982.83 TAXES
VA DEPT TAXATION                       P.O. BOX 1478                                                                RICHMOND                VA      23218-1478               3/22/2023           $41,335.57 TAXES
VA DEPT TAXATION Total                                                                                                                                                                         $130,095.31

WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   1/4/2023              $2,047.81 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   1/24/2023             $3,625.28 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   1/31/2023             $2,186.31 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   2/7/2023              $3,870.90 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   2/14/2023             $1,302.34 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   2/21/2023             $2,011.34 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   2/28/2023             $1,970.10 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   3/7/2023              $2,010.59 SERVICES
WARD TRUCKING LLC                      PO BOX 1553                                                                  ALTOONA                 PA      16603                   3/14/2023             $1,886.36 SERVICES
WARD TRUCKING LLC Total                                                                                                                                                                          $20,911.03

WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              1/10/2023             $1,718.33 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              1/17/2023               $500.77 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              1/24/2023             $4,038.74 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              1/31/2023             $1,908.01 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              2/7/2023                $718.30 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              2/21/2023             $3,879.19 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              2/28/2023             $1,090.94 UTILITY
WASHINGTON GAS                         PO BOX 37747                                                                 PHILADELPHIA            PA      19101-5047              3/7/2023              $1,364.44 UTILITY
WASHINGTON GAS Total                                                                                                                                                                             $15,218.72

WASHINGTON SUBURBAN SANITARY C         PO BOX 62135                                                                 BALTIMORE               MD      21264-2135              1/10/2023             $3,804.63 SUPPLIERS OR VENDORS
WASHINGTON SUBURBAN SANITARY C         PO BOX 62135                                                                 BALTIMORE               MD      21264-2135              1/17/2023             $7,935.41 SUPPLIERS OR VENDORS
WASHINGTON SUBURBAN SANITARY C         PO BOX 62135                                                                 BALTIMORE               MD      21264-2135              1/31/2023                $45.78 SUPPLIERS OR VENDORS
WASHINGTON SUBURBAN SANITARY C         PO BOX 62135                                                                 BALTIMORE               MD      21264-2135              2/28/2023                $40.37 SUPPLIERS OR VENDORS
WASHINGTON SUBURBAN SANITARY C Total                                                                                                                                                             $11,826.19

WHEATON PLAZA REGIONAL SHOPPIN         2049 CENTURY PARK EAST, 41ST FLOOR                                           CENTURY CITY            CA      90067                    1/26/2023           $20,873.62 TRADE PAYABLE
WHEATON PLAZA REGIONAL SHOPPIN         2049 CENTURY PARK EAST, 41ST FLOOR                                           CENTURY CITY            CA      90067                    2/7/2023            $46,151.39 TRADE PAYABLE
WHEATON PLAZA REGIONAL SHOPPIN         2049 CENTURY PARK EAST, 41ST FLOOR                                           CENTURY CITY            CA      90067                    3/1/2023            $36,257.42 TRADE PAYABLE
WHEATON PLAZA REGIONAL SHOPPIN Total                                                                                                                                                            $103,282.43

WILLIAMSON DICKIES MFG. CO.            PO BOX 915156                                                                DALLAS                  TX      75391-5156               2/7/2023            $18,628.00 SUPPLIERS OR VENDORS
WILLIAMSON DICKIES MFG. CO. Total                                                                                                                                                                $18,628.00

WM CORPORATE SERVICES, INC.            AS PAYMENT AGENT                       PO BOX 13648                          PHILADELPHIA            PA      19101-3648               1/10/2023            $5,437.61 SERVICES
WM CORPORATE SERVICES, INC.            AS PAYMENT AGENT                       PO BOX 13648                          PHILADELPHIA            PA      19101-3648               2/7/2023             $5,785.47 SERVICES
WM CORPORATE SERVICES, INC.            AS PAYMENT AGENT                       PO BOX 13648                          PHILADELPHIA            PA      19101-3648               3/14/2023            $5,092.79 SERVICES
WM CORPORATE SERVICES, INC. Total                                                                                                                                                                $16,315.87




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                                               Payments or other transfers of property made within 1 year before filing this case that benefited any insider


         Insider's Name                Address 1         City   State    ZIP                     Relationship to the Debtor           Payment Date      Payment Amount Reason for Payment or Transfer
Greenberg Family Trust #4         1800 Woodlawn Drive Gwynn Oak MD    21207-4007                      SHAREHOLDER                       4/5/2022             $90,523.00 Distribution Payable
Greenberg Family Trust #4 Total                                                                                                                              $90,523.00

Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                01/13/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                01/13/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                01/27/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                01/27/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                02/10/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                02/10/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                02/24/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                02/24/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                03/10/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                03/10/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                03/24/2023             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                03/24/2023                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/08/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/08/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/22/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/22/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/06/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/06/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/20/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/20/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/03/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/03/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/17/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/17/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/01/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/01/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/15/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/15/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/29/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/29/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/12/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/12/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/26/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/26/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                09/09/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                09/09/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                09/23/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                09/23/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                10/07/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                10/07/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                10/21/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                10/21/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                11/04/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                11/04/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                11/18/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                11/18/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/02/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/02/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/16/2022             $1,700.00 Gross Salary
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/16/2022                $50.49 401K Contribution
Greenberg, Amanda R.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/30/2022                 $0.00 Gross Salary



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                                                                                   SOFA 4 ATTACHMENT
                                          Payments or other transfers of property made within 1 year before filing this case that benefited any insider


         Insider's Name           Address 1         City   State    ZIP                   Relationship to the Debtor             Payment Date      Payment Amount Reason for Payment or Transfer
Greenberg, Amanda R.         1800 Woodlawn Drive Gwynn Oak MD    21207-4007             RELATIVE OF PRESIDENT / CEO               12/30/2022              $1,700.00 Gross Salary
Greenberg, Amanda R.         1800 Woodlawn Drive Gwynn Oak MD    21207-4007             RELATIVE OF PRESIDENT / CEO               12/30/2022              $1,877.38 Gross Salary
Greenberg, Amanda R.         1800 Woodlawn Drive Gwynn Oak MD    21207-4007             RELATIVE OF PRESIDENT / CEO               12/30/2022                 $50.49 401K Contribution
Greenberg, Amanda R. Total                                                                                                                              $47,390.12

Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      01/13/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      01/13/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      01/27/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      01/27/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      02/10/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      02/10/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      02/24/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      02/24/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      03/10/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      03/10/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      03/24/2023                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      03/24/2023                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/08/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/08/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/08/2022                   $965.02 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/22/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/22/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      04/22/2022                     $9.84 401K Contribution
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      05/06/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      05/06/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      05/20/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      05/20/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      06/03/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      06/03/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      06/17/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      06/17/2022                $80,000.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      07/01/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      07/15/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      07/29/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      08/12/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      08/26/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      09/09/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      09/23/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      10/07/2022                     $0.00 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      10/21/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      11/04/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      11/18/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      12/02/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      12/16/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      12/30/2022                $32,492.31 Gross Salary
Greenberg, Greg M.           1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                  PRESIDENT                      12/30/2022                 $9,970.07 Gross Salary
Greenberg, Greg M. Total                                                                                                                                  $1,081,596.63

Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        04/08/2022               $14,615.42 Gross Salary
Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        04/08/2022                  $144.69 401K Contribution
Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        04/22/2022               $14,615.42 Gross Salary
Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        04/22/2022                  $144.69 401K Contribution
Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        05/06/2022               $14,615.42 Gross Salary
Greenberg, Theodore L.       1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007                      CEO                        05/06/2022                  $144.69 401K Contribution



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                                                                                     SOFA 4 ATTACHMENT
                                            Payments or other transfers of property made within 1 year before filing this case that benefited any insider


         Insider's Name             Address 1         City   State    ZIP                     Relationship to the Debtor           Payment Date      Payment Amount Reason for Payment or Transfer
Greenberg, Theodore L.         1800 Woodlawn Drive Gwynn Oak MD    21207-4007                           CEO                         12/30/2022                  $0.00 Gross Salary
Greenberg, Theodore L.         1800 Woodlawn Drive Gwynn Oak MD    21207-4007                           CEO                         12/30/2022              $7,781.86 Gross Salary
Greenberg, Theodore L. Total                                                                                                                              $52,062.19

Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/08/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                04/22/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/06/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                05/20/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/03/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                06/17/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/01/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/15/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                07/29/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/12/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                08/26/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                09/09/2022              $2,884.62 Gross Salary
Shade, Tiffany N.              1800 Woodlawn Drive   Gwynn Oak    MD      21207-4007      RELATIVE OF PRESIDENT / CEO                12/30/2022                  $0.00 Gross Salary
Shade, Tiffany N. Total                                                                                                                                     $34,615.44




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Fill in this information to identify the case:

Debtor name: ESCO, Ltd.

United States Bankruptcy Court for the: Maryland
                                                                                                                                                               Check if this is an
Case number: 23-12237
                                                                                                                                                               amended ling




                                                                                                                                                                          fi
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
  fi
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
04/24/2023



 /s/ Stanley W. Mastil                                                                       Stanley W. Mastil

Signature of individual signing on behalf of debtor                                          Printed name

Chief Restructuring O cer
                       ffi
Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (O cial Form 207) attached?




                                                                                                             ffi
       No

       Yes
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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MARYLAND
                             (Baltimore Division)


In re:                                    (Chapter 11)

ESCO, LTD.,                               Case No. 23-12237 (DER)

Debtor.


ESCO, LTD. LIQUIDATING TRUST,             Adv. Pro. No. 24-00120 (DER)
Plaintiff,

v.

GREG GREENBERG, THEODORE
GREENBERG, BETH GREENBERG,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 1,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 2,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 3,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 4,
GREENBERG FAMILY 2012
IRREVOCABLE TRUST NO. 5, AMANDA
GREENBERG, AND TIFFANY SHADE,

Defendants.




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                    ORDER DISMISSING PLAINTIFF’S COMPLAINT

         AND NOW, this __________ day of ______________________, 2024, after

consideration of the Motion to Dismiss filed by defendants Greg Greenberg, Theodore Greenberg,

Beth Greenberg, Greenberg Family 2012 Irrevocable Trust No. 1, Greenberg Family 2012

Irrevocable Trust No. 2, Greenberg Family 2012 Irrevocable Trust No. 3, Greenberg Family 2017

Irrevocable Trust No. 4 (incorrectly named in the Complaint as Greenberg Family 2012

Irrevocable Trust No. 4), Greenberg Family 2017 Irrevocable Trust No. 5 (incorrectly named in

the Complaint as Greenberg Family 2012 Irrevocable Trust No. 5), Amanda Greenberg, and

Tiffany Shade, and any response thereto, it is hereby

         ORDERED that the Motion to Dismiss is GRANTED. The complaint is DISMISSED.



                                       END OF ORDER



cc:
         Gary H. Leibowitz (via CM/ECF)
         James S. Carr (via CM/ECF)
         Levi M. Downing (via CM/ECF)




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